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                EXHIBIT - 9
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Rebuttal to Respondent City of Seattle's Position Statement
                        Part One

        I plan on providing more details, along with more evidence for my Charge of Discrimination
but first I want to respond to the City of Seattle's Claim Response because I believe they are being
deceptive by misrepresenting the facts and asserting easily disprovable fraudulent assertions. They lied.

        Before I do, I need to point out that the City of Seattle does not use colloquial definitions but
keeps an internally maintained definition list which may confound interpretation of their words and
statements by external parties. I uploaded an older version of one of the definition lists they previously
used created by the Challenging White Supremacy Workshop. Some still use the CWS definition list
but the City of Seattle has also been creating their own definition list, which is fluid since it is being
perpetually refined, leading to multiple different definition lists/glossaries being used throughout the
City of Seattle.


                              e   There were some questions about who will decide what the common language is that
                                  we use and whether or not old terms that many people are familiar with (such as
                                  “gatekeeping”) remain.

                              e   The training design group will be able to determine the way the language is shaped
                                  and used. Key terms can be built into both the discussion questions and the
                                  outcomes.



(embedded picture taken from City of Seattle UIR_Minutes_022304.pdf)

                         €j\) City of Seattle
                      How Shared Foundational Language Began
                      Defining racial equity goals, framework, and language are necessary foundations to moving the
                      City of Seattle’s (City) existing Race and Social Justice Initiative (RSJI) forward. These terms and
                      concepts are specific to the RSJ goals that the City is working towards, so some RSJ terms or
                      concepts may not be reflected here. Additionally, as language evolves, and the movement
                      grows, this glossary will be updated to reflect those changes. This is one component of Mayor
                      Durkan’s Executive Order 2018-04 (EO) on Anti-Harassment and Anti-Discrimination.


(embedded picture taken from City of Seattle RSJ Foundation Guide)
         e   iW you   Want   Tunaing   you   MUST   GO   WNal   tne   CIly   aSKS   YOU   TO   GO

         e We must bring an equity lens to everything we look at
         e Use RET for everything, not just 4x a year
         e Identify how dominant culture is showing up in all actions
         ° Our language — how we use language that keeps white folks comfortable — need to name it like it is,

         °   : i more folks who are POC leading the work the more they are at risk — we need to be at risk with
             them



(embedded screenshot taken from City of Seattle RSJI Big Picture Notes)




                                                                                                                             DIEMERT_PROD04_10214
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        First, in the Charge Response, the City of Seattle states that “the City is committed to an
inclusive, equitable, and non-discriminatory workplace, and has a strong Citywide policy prohibiting
discrimination and harassment in the workplace.” This is only true if you use their definitions which
isn't congruent with the definitions the Constitution or EEOC is founded on. I reported acts of
discrimination and racism throughout my years at the City of Seattle but was told that the incidents
were not racist because “only white people can be racist and it is impossible to be racist towards a
white person”.

          APIUIR Curriculum
          Asian Pacific Islander Undoing Racism Groups of Seattle
           Updated: 12/2006 DDM
                     The legitimate access to systems and institutions sanctioned by the state) The extent to which you have access
                     and control of systems. With the society structured on race, the white race has greater access to the institutions
                     that grant fairness in legal treatment, economic opportunities, and social status. In the United States, because of
                     the power dynamic and the social structures, all whites benefit, for their whiteness is the model of humanity.
                     Having the Right does not equal to Legitimate Access Sanctioned by the State.

                      °        “Whites do not equally reap   its benefits  (gender, class. sexual orientation. etc.) as aspects of identit
                              influence ways they may experience and gain from their whiteness” (Teaching/Learning Anti-Racism. by
                              Dermann-Sparkes and Phillips).
                      e       No persons of color can be a racist. but the same aspects of identity influence the ways and layers of
                              oppression. Racism is an imposition. a structure and an ideology to support the dominant culture common
                              purpose and identity.
                      e       People of color can hold individual prejudices. be mean. evil and down right nasty.                             But they do not have the
                              power to be racist.




(embedded picture taken from City of Seattle API UIR Training Curriculum)

                     DISMANTLING            RACISM                                                                                               RESOURCE    BOOK




                     CHARACTERISTICS                                        OF Al                      -ACIST            WHITE           ALLIES

                     Attitudes and Behaviors
                     Adapted from 10 attitudes and behaviors which help us become Strong Anti-Racist Allies, developed
                     by Grassroots Leadership's Barriers and Bridges Program

                     «    All white people are racist.                      I am a racist.
                     «    I will never know what it is like to be a person of color in this country. While it is
                          important to build empathy, I need to acknowledge that I cannot know what it is
                          really like.
                     «    I expect to be uncomfortable as a white anti-racist ally.                                      Discomfort offers an
                          opportunity for reflection and deeper understanding, which leads to change, which
                          can be scary, but necessary and fulfilling. Because white supremacist culture allows
                          white people to remain comfortable, I will need to actively seek situations that will
                          provide me the opportunity to change and grow.
                     -    T    anne   Ln.      nn.   nnll   nA. .Anwn   Ln.na   T   An   eR atin   LD Ann.   nn   ThA.    mann   BR   nn nn    nib nk       LA




(embedded picture taken from City of Seattle training and department guide, Dismantling Racism.
Uploaded as PDR_RSJI_I.pdf)




                                                                                                                                                                    DIEMERT_PROD04_10215
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                               A      Racist:
                               A racist is one who is both privileged and socialized on the basis of race bya
                  white supremacist (racist) system.                            The term applies to all white people ( people of
                  European descent) living in the United States, regardless of class, gender, religion,
                  Culture or sexual orientation. The term has nothing to do with one's intentions or
                  individual actions. It denotes a relationship of relative access, based on ancestral
                  origin, to the power of institutions in a white supremacy system.

                               By this definition people of color cannot be racists.                                       Living within the U.S. white
                  supremacy system,                    they do not have the institutional power to back up their individual
                 or group prejudices, hostilities or acts of discrimination. (This definition does not deny
                 the existence of such prejudices, hostilities, acts of discrimination or even rage.)



(embedded picture taken from RSJI prerequisite training material 1Pol_Persp_of_CWS.PDF)

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2oint                     &D Videos                           (ij WhyWeLeadWithRace.docx        (Gj AH Definitions-History Sect... &   |”

                                                                                                                   AH Definitions-History Section   roan




                                                                                                                             History Section
                                                                           Objectives:
                                                                              e to set the theme and analyses of “world to self” for the definitions and trainings
                                                                                  to give background on worldhistory to inform and guide learners’ roles in ending
                                                                                  institutionalized racism in City government

                                                                                                                                       WORLD


                                                                                                                                       ®
                                                                                            START FROM A POINT OF POC THRIVING AND ABUNDANCE
                                                                            Purpose: To move away from the narrative that POC came from scarcity, enslavement,                               etc.


                                                                                                                           OIDS
                                                                               Purpose: To introduce different classifications and identify who/what values came with
                                                                              invasion/colonizationin the US and around the world (patriarchy, Christianity, capitalism,
                                                                                                            racism/white supremacy, etc.)


                                                                                              ENFORCING POWER & “OID” HIERARCHY THROUGH SYSTEMS
                                                                                Purpose: To introduce oppressive systems and cultural dominance through examples
                                                                               (colonization, enslavement, apartheid, Jim Crow—including poverty as an outcome &
                                                                                                                       system)


                                                                                                               ENFORCING DOMINANT VALUES
                                                                             Purpose: To discuss how dominant values shape and re-enforce systems and social norms.
                                                                             (“if patriarchy, Christianity, capitalism, racism/white supremacy, etc. wasn'ta value of the
                                                                                                      dominant culture, it wouldn’tbe a norm today)


                                                                                                                   SOCIAL MOVEMENT
                                                                            Purpose: To promptlearners to explore their own social identity through following the world
                                                                           to self framework, and to illustrate how social change (nationally/internationally) begins with
                                                                              the self—individual people understanding the history, the systems, and their role to guide
                                                                           action, and (i.e. patterns of resistance, “social movements don’tspark in organizations, they

                                                                                                                       following definitions describe”

(screenshot of City of Seattle document on City of Seattle intranet)




                                                                                                                                                                                       DIEMERT_PROD04_10216
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                                                                                                                                      <
                                                                                                                        {Common Patterns of Whites
                                                                                        Directions: review these common       grou)   namics:
                                                                                        a. Check-off any dynamics which you have observed or heard about.
                                                                                        b. Make a note next to the different dynamics that you have personally participated in.

                                                                                        Some/Many Whites Tend to (consciously and unconsciously):

                                                                                        1. believe they have “earned” what they have, rather than acknowledge the extensive unearned
                                                                                            advantages they receive; claim that if people of color just worked harder...

                                                                                        2. not notice the daily indignities that people of color experience; deny and rationalize them
                                                                                            away with PLEs (perfectly logical explanations)

                                                                                        3. work to maintain the status quo and protect the advantages and privileges they receive

                                                                                        4. believe that white cultural norms, practices and values are superior and better

                                                                                        5. internalize negative stereotypes and believe that whites are smarter and superior to POC

                                                                                        6. want people of color to conform and assimilate to white cultural norms and practices

                                                                                        7. accept and feel safer around people of color who have assimilated and are “closer to white”

                                                                                        8. blame people of color for the barriers and challenges they experience; believe that if they
                                                                                            “worked harder’ they could “pull themselves up by their bootstraps”

                                                                                        9. believe that people of color are not competent and are only hired/promoted to fill quotas

                                                                                        10. interrupt and talk over people of color

                                                                                        11. resent taking direction from a person of color

                                                                                        12. dismiss and minimize frustrations of people of color and categorize the person raising
                                                                                            issues as militant, angry, having an “attitude,” working their agenda, not a team player...

                                                                                        13. focus on their “good intent” as whites, rather than on the negative impact of their behavior

                                                                                        14. focus on how much progress we have made, rather than on what still needs to change




(example of documents found on City of Seattle intranet stereotyping and degrading white people. The
address to the document is captured in screenshot to show that it came from City of Seattle sharepoint
and was not created by me. It was uploaded as a word document so opened in our Sharepoint Word
App)

        My concerns were never elevated or investigated when I reported them because they don't
believe in the equality standard. They explicitly apply the equity standard instead and declare that
“equality is a system of white supremacy”. The City of Seattle asserts that the "equality" model that
reinforces the Civil Rights Act restricts their ability to level the playing field in a white supremacist
culture.




                                                                                                                                                                                                            DIEMERT_PROD04_10217
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                 The act of passing legislation to make ORSJ also protects the work of
                 the current RSJI. As it is currently, RSJI, at the whim of the Mayor's office
                 could simply vanish because RJSI exists only as an initiative supported by
                 proclamation and Executive Order. Passing an enacting ordinance would
                 give the work of RSJI protections from political whim, and potentially
                 provide more “teeth” to compel compliance with initiatives (e.g., the
                 completion of intra-departmental RETs).

                 Finally, the creation of a new office devoted to race and social justice
                 acknowledges the foundational importance of RSJI’s mission to advancing
                 equity in the City of Seattle. It acknowledges that civil rights, as vital as they
                 are, are rooted in laws that perpetuate inequity because they guard against
                 inequality— and that the work of RSJI, in order to be successful, must and
                 should operate outside of the analytical framework of the governmental
                 enforcement of civil rights. This recommendation is rooted in both
                 practicality and symbol.”




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            It was for this reason that the RET team considered the creation of a new office
            devoted to race and social justice to acknowledge the foundational importance of
            RSJI’s mission to advancing equity in the City of Seattle. We sought a solution to
            acknowledges that civil rights, as vital as they are, are rooted in laws that perpetuate
            inequity because they guard against /                and that the work of RSJI, to be
            successful, must and should operate outside of the analytical framework of the
            governmental enforcement of civil rights. This recommendation           is rooted in both
            practicality and symbolism.

            The act of nassina    leaislation to establish the RSI    throuah   an ordinance   is central.


          process of scaling the equity work of RSJI to the level
          called for by community members and City employees should commence with
          Phase Il.

          Phase II: Hopeful would require road mapping, benchmarking, assessment,
          implementation, and enforcement of innovative strategies and approaches to scale
          RSJI toward dismantling and disrupting citywide, institutional, and systemic change
          in ways currently unallowed under the equality measures of the Civil Rights Act.
          Hopeful could also include assessments, pilots, and feasibility studies to determine
          how a radical, intersectionally antiracist, and large-scale approach to equity goals can
          occur despite or outside of the restrictions on interpretation and enforcement of the
          Civil Rights Act BQUIitY model.


(Embedded Pictures are from the Seattle Office of Civil Rights Racial Equity Toolkit Report uploaded as Installment 2.1)



        They declare that the Constitution of the United States, western liberal values, Christianity and
capitalism are all part of a white supremacist culture. According to the beliefs promulgated by the City
of Seattle, the term “Culture of White Supremacy” is synonymous with “White Culture”.




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                 Culture of White Supremacy                   (White Culture)
                           The culture of white supremacy is an artificial, historically constructed culture
                 which expresses, justifies and binds together the United States white supremacy
                 system.     The culture of white supremacy perpetuates the belief and legitimizes the
                 practice of treating people of color as inferior and white people as superior.

                           In the U.S., the culture of white supremacy is intertwined with the cultural
                 expressions of the other major systems of oppression: the greed, competition and
                 individualism of capitalism; patriarchy’s fear and hatred of the power of women;
                 historical Christianity’s hatred and fear of sexuality, and its Protestant compulsion to
                 divide people into the ‘saved’ and the ‘damned,’ and a European-based glorification
                 of war, conquest and violence as proofs of manhood and nationhood that goes back
                 thousands of years.

                        The culture of white supremacy is a melting pot of greed, guys, guns, gods and
                 white power. It is a deadly brew.

(embedded screenshot taken from City of Seattle RSJI training material 6Glossary_of_Terms.PDF)




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                                                       WHITE CULTURE

                  White Culture defines what is considered                        normal — it creates the
                  standard for judging values.
                  For example - Think about who and how these terms are defined: good parenting, stable family, well-
                  raised child, individual self-sufficiency, and effective leadership.

                  In your organization, what are the characteristics of a good employee?                   How were you
                  informed? If unwritten rules — how did you learn about them?

           II.    White culture privileges a focus on individuals (not groups).
                  Independence and autonomy are valued and rewarded. An individual is in control of their environment —
                  "You get what you deserve.”

                  In your organization, what is rewarded? Example — is there encouragement to compete?
                  Collaborative decision-making? Decisions based on common good?

           III.   White culture assigns a higher value to some ways of behaving than
                  others. It often defines the “other” behaviors as dangerous and/or
                  deviant.
                  For example - Right to comfort. Avoid conflict, emotion. . . Be polite. Comfort level is defined by whites
                  and those that cause discomfort or involved in conflict can be marginalized. Individual acts of unfairness
                  become equal to the pain and discomfort to systemic racism which are daily targets for people of color.
                  Based on Tema Okun’s White Supremacy Culture.

                  In your organization, what behaviors are considered uncomfortable? (e.g. conflict, loud
                  voice, crying)? How does the organization culture respond when these behaviors
                  happen?

           IV.    Decision-making often reflects white cultural assumptions about the
                  primacy of individuals, standards of behavior and use of power “over”
                  others.
                  For example: Deciding and enforcing, Either/or thinking, those less affected define the problem and
                  solution

                  Reflect on the different groups you belong to — Who is included in the decision-making
                  process? What is the rationale? Is the process different on paper vs. in reality?


                  White culture values certain ways of knowing and not others.
                  For example, if you cant measure it — it is not of value.   Focus on cause and effect relationships and
                  rational linear thinking

                  In your organization, who or what informs you that a program/service is working?                          How
                  is success defined? Who decides what is sufficient time?

(screenshot taken from City of Seattle whiteculturehandout.pdf)




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  Privilege — A right, favor, advantage, or immunity specially granted to one individual or group and
  withheld from another.76

       e    Class Privilege — Unearned advantages of higher-class status, such as personal contacts with
            employers, good health care in childhood, inherited money, or speaking with the same dialect or
            accent as people with institutional power.”

       e    White Privilege — A historically-based, institutionally-perpetuated system of: 1) Preferential
            prejudice for and treatment of white people based solely on their skin color and/or ancestral
            origin from Europe; and 2) Exemption from racial and/or national oppression based on skin color
            and/or ancestral origin from Africa, Asia, the Americas and the Arab world.”8

  Model Minority Myth — The stereotype that all Asian Americans are wealthy, have high educational
  achievement and assimilate well into White culture.”?

  White Fragility — White Fragility is a state that White people experience "in which even a minimum
  amount of racial stress becomes intolerable, triggering a range of defensive moves. These moves include
  the outward display of emotions such as anger, fear, and guilt, and behaviors such as argumentation,
  silence, and leaving the stress-inducing situation. These behaviors, in turn, function to reinstate white
  racial equilibrium.”°°

  Prejudice — A prejudice is a prejudgment in favor of or against a person, group, event, idea, or thing. An

(screenshot taken from City of Seattle's Race and Equity Shared Language Document)

If you publicly speak up against the ideology that City of Seattle thrusts upon its employees then they
call you a white supremacist. If you are white and disagree or get upset, they accuse you of being
“guilty” or say you have “white fragility” in a demeaning manner. Also, when you disagree, they use
circular logic and say that is evidence that you are white supremacist. This is also in written form on
their White Supremacy Culture handout under “defensiveness” (see below)




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                                                                                                            /
                                                  White Supremacy Culture
                            From Dismantling Racism: A Workbook for Social Change Groups

   This is a list of characteristics of white supremacy culture which show up in our organizations. Culture is powerful precisely
   because it is so present and at the same time so very difficult to name or identify. The characteristics listed below are damaging
   because they are used as norms and standards without being pro-actively named or chosen by the group. They are damaging
   because they promote white supremacy thinking. They are damaging       to both people of color and to white people.
   Organizations that are people of color led or a majority people of color can also demonstrate many damaging characteristics of
   white supremacy culture.

   Perfectionism
       ©    Little appreciation expressed among people for the work that others are doing; appreciation that is expressed usually
            directed to those who get most of the credit anyway
       *    More common is to point out either how the person or work is inadequate
       *    Or even more common, to talk to others about the inadequacies of a person or their work without ever talking directly
            to them
       e    Mistakes are seen as personal, i.e. they reflect badly on the person making them as opposed to being seen for what
            they are - mistakes
       ¢    Making a mistake is confused with being a mistake, doing wrong with being wrong
       ©    Little time, energy, or money put into reflection or identifying lessons learned that can improve practice, in other words
            little or no learning from mistakes
        ©    Tendency to identify what's wrong; little ability to identify, name, and appreciate what’s right
   Antidotes: develop a culture of appreciation, where the organization takes time to make sure that people’s work and efforts are
   appreciated; develop a learning organization, where it is expected that everyone will make mistakes and those mistakes offer
   opportunities for learning; create an environment where people can recognize that mistakes sometimes lead to positive results;
   separate the person from the mistake; when offering feedback, always speak to things that went well before offering criticism;
   ask people to offer specific suggestions for how to do things differently when offering criticism

   Sense of Urgency
       ©   Continued sense of urgency that makes it difficult to take time to be inclusive, encourage democratic and/or thoughtful
           decision-making, to think long-term, to consider consequences
       ¢   Frequently results in sacrificing potential allies for quick or highly visible results, for example sacrificing interests of
           communities of color in order to win victories for white people (seen as default or norm community)
       © — Reinforced by funding proposals which promise too much work for too little money and by funders who expect to much
           for too little
   Antidotes: realistic workplans; leadership which understands that things take longer than anyone expects; discuss and plan for
   what it means to set goals of inclusivity and diversity, particularly in terms of time; learn from past experience how long things
   take; write realistic funding proposals with realistic time frames; be clear about how you will make good decisions in an
   atmosphere of urgency.

   Defensiveness
       ©    The organizational structure is set up and much energy spent trying to prevent abuse and protect power as it exists
            rather than to facilitate the best out of each person or to clarify who has power and how they are expected to use it
       ¢    Because of either/or thinking (see below), criticism of those with power is viewed as threatening and inappropriate (or
            rude)
       ©    People respond to new or challenging ideas with defensiveness, making it very difficult to raise these ideas
       ©    Alot of energy in the organization is spent tryingto make sure that people’s feelings aren't getting hurt or working
            around defensive people
        *   The defensiveness of people in power creates an oppressive culture
   Antidotes: understand that structure cannot in and of itself facilitate or prevent abuse; understand the link between
   defensiveness and fear (of losing power, losing face, losing comfort, losing privilege); work on your own defensiveness; name
   defensiveness as a problem when it is one; give people credit for being able to handle more than you think; discuss the ways
   win which defensiveness or resistance to new ideas gets in the way of the mission.

   The work of Kenneth Jones and Tema Okun, ChangeWork 2001                                                                               1




   Quantity over Quality
        © All resources of organization are directed toward producing measurable goals
        ©   Things that can be measured are more highly valued than things that cannot, for example numbers of people attending
           a meeting, newsletter circulation, money spent are valued more than quality of relationships, d    atic decision
           making, ability to constructively deal with conflict
       *   Little or no value attached to process; if it can’t be measured, it has no value
       * — Discomfort with emotion and feelings
       *   No understanding that when there is a conflict between content (the agenda of the meeting) and the process (people’s
           need to be heard or engaged), process will prevail (for example, you may get through the agenda, but if you haven't
           paid attention to people’s need to be heard, the decisions made at the meeting are undermined and/or disregarded)
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     8 City of Seattle Race and Social Justice Initiative (RSJI).
     ° Ron Chisom & Michael Washington, Undoing Racism: A Philosophy of International Social Change (1997).
     10 Chisom & Washington.
     1. RSJI.
     12 RSJI.
     13 The Case for Funding Black-led Social Change, http://www.blacksocialchange.org/wp-
     content/uploads/2017/02/BSCFN-Case-Statement.pdf
     14 Class Action.
     15 "Colorism | NCCJ." https://nccj.org/colorism-0. Accessed 12 Dec. 2019.




     Colonialism - Colonialism is when one country violently invades and takes control of another country,
     claims the land as its own, and sends people — “settlers” — to live on that land.*°

     Islamophobia - Islamophobia is hatred, fear and/or prejudice toward Islam and Muslims that results in
     discrimination, marginalization, violence and oppression. It creates a distorted understanding of Islam
     and Muslims and transforms diversity in name, language, culture, ethnicity, and race into a set of
     stereotyped characteristics. As such, Islamophobia is a system of both religious and racial animosity.*”

     White Supremacy — A          historically-based, institutionally-perpetuated system of exploitation and
     oppression of continents, nations, and Black, Indigenous, and people of color by white people and
     nations of the European continent for the purpose of maintaining and defending a system of wealth,
     power, and privilege.?®
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(screenshot taken from City of Seattle's Race and Equity Shared Language Document and White Supremacy Culture
handout. The White Supremacy Culture handout is used often.)




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                       OVERT
                       WHITE SUPREMACY tate
                       (Socially Unacceptable)

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                                                                             raunaism WHITE SUPREMACY
                                                                             i an ocially Acceptable)

                                                                                                       Assuming   that Good
                                                                               Anti-immigration        Intentions are Enough


                                                                    Housing
                                          English-only intatives Discriminat                      |
                        Denial of White                                      ion Fearing People of Color\     White Ally




(City of Seattle Trauma video discussing White Supremacy Culture)

Some examples of what the City of Seattle declares is White Supremacy:
Denial of White Privilege
Claiming Reverse Racism
Colorblindness
Saying “But we're just one human family”
Saying “Don't blame me, I never owned slaves”
Believeing we are “Post Racial”
Celebrating Columbus Day

If you say, or support any of them, then they say you are a racist white supremacist and degrade you
because you “Support white supremacy” (by their definition).

This video, which the City of Seattle advertises to its employees as training to help cope with trauma
and stress due to Covid, was not a self help video but a discriminatory instruction that was filled with
racism, anti-Christian and anti-American propaganda. It was very difficult to watch and made me more
stressed out and traumatized after viewing it.




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        Its common in the workplace to denounce white people or to blame them for problems in
society. Its totally acceptable to call white people racists or to interogate white people if they voted for
Trump, and if they did call them degrading names.




                                   What ta           White Supremacy?

                  You may be wondering why | chose to use the words “White Supremacy” for this
               book and not something softer or less confrontational like “Internalised Racism” or
               “Unconscious Bias”. You may be thinking that white supremacy is a term that is only
               used to describe far right extremists and Neo Nazis. However, this idea that white
               supremacy only applies to the so-called “bad ones’ is both incorrect and dangerous,
               because it reinforces the idea that white supremacy is an ideology that is only upheld by
               a fringe group of white people. White supremacy is far from fringe. In white-dominated
               societies and communities, it is the dominant paradigm that forms of the foundation from
               which norms, rules and laws are created.


                  So what is white sunremacv?




(embedded screenshot taken from “Me and White Supremacy workbook” given to white employees as part of the City of
Seattle RSJI)




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               What is white supremacy culture?

               White supremacy culture is the idea (ideology)
               that white people and the ideas, thoughts,
               beliefs, and actions of white people are
               superior to People of Color and their ideas,
               thoughts, beliefs, and actions.

               White supremacy culture is an artificial,
               historically constructed culture which
               expresses, justifies and binds together the
               United States white supremacy system. It is
               the glue that binds together white-controlled
               institutions into systems and white-controlled
               systems into the global white supremacy
               system.
               [from Sharon Martinas and the Challenging White
               Supremacy Workshop]

             White supremacy culture is reproduced by all the institutions of our society. In particular the media, the
             education system, western science (which played a major role in reinforcing the idea of race as a
             biological truth with the white race as the "ideal" top of the hierarchy), and the Christian church have




             played central roles in reproducing the idea of white supremacy (i.e. that white is "normal," "better,"
             "smarter," "holy" in contrast to Black and other People and Communities of Color. For one example of the
             role of education in reproducing white supremacy culture, read below.
(embedded screenshot taken from City of Seattle RSJ training “Assumption Grounding White Supremacy”)




                                                                                                                        DIEMERT_PROD04_10226
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        Assumptions Grounding White Supremacy is found within the White Supremacy Culture
handouts that are used frequently by the City of Seattle and can be found in this screenshot of an
intranet search:

      C
            \       Departments »    Employee Everyday y       Services and Payroll y       HRand Benefits v




      Search
      CITY OF SEATTLE HOME




                                               white supremacy                               fe)

      Result type                             InWeb        Everything              People
      Excel                                   WARNING: InWeb search results only include content on the new InWeb hosted
      OneNote                                 on SharePoint Online. To search legacy InWeb sites, click here.

      PDF                                     Preference for results in English »
      PowerPoint

      Web page                                Transformational-Anti-Racist-Organizing-Approach_21882
     Word                                     Understands that white supremacy disembodies, disconnects and
                                              disempowers ... BIPOC, who are directly targeted, and for white people,
      SHOW MORE                                           “                   .
                                              who are positioned to uphold white supremacy ...
                                              seattlegov.sharepoint.com/.../Transformational-Anti-Racist-Organizi...
      Author
      Hunter, Natalie                         White Supremacy Culture
      White, Debbie SHR                       seattlegov.sharepoint.com/sites/.../White Supremacy Culture.url

      Sheehy, Katie                              .         .           .       .             .                  .
                                              Asian American Racial Justice Toolkit by Grassroots Asian...
      cede                                    69 White Supremacy ... time, the economic backslide of the white working-
      Dawson-Miller, Jennifer                 class that has steepened since the 1970s ...
      SHOW MORE                               seattlegov.sharepoint.com/.../Asian American Racial Justice Toolkit...

      Modified date                           Ally Mtg Notes 8.and Articles 8.18.20- White Supremacy...
                                              Below is a list of characteristics of white supremacy culture which show up
                                              in our organizations ... They are damaging because they promote white
                                              supremacy thinking ...
      One Year Ago           Today            seattlegov.sharepoint.com/.../Ally Mtg Notes 8.and Articles 8.18.20...


                                              ASSUMPTION GROUNDING THIS PAGE:
     All                                      White supremacy culture is an artificial, historically constructed culture
                                              which expresses, justifies and binds together the United States white
                                              supremacy system...
                                              seattlegov.sharepoint.com/sites/.../WhiteSupremencyCulture.docx


                                              RacialldentiyCaucusingStrategyBldgAnti-RacistCollectives
                                              The White team members also meet in caucus to deal with issues of
                                              internalized superiority and to build an anti-racist White collective working
                                              together and with POC to...
                                              seattlegov.sharepoint.com/.../RacialldentiyCaucusingStrategyBldgAnt...




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             White Supremacy
             The social, political, and economic system that maintains the domi-
             nance of white people by providing advantages to white individuals
             and groups. White supremacy is also the belief that white people are
             superior to people of all other races, and therefore have a right to
             dominate people and the planet.


             White Supremacy Culture
             The ways of beings, norms, habits, attitudes, beliefs, and expec-
             tations that uphold the system of white supremacy, both within
             organizations and in society at-large. For more on this term, see
                                                                                           by Tema Okun, updated from her seminal
             collaboration with Kenneth Jones, and




(embedded picture taken from City of Seattle training “Shape-of-Trust-Video-Facilitation-Guide-September-2021”)

        »                https://seattlegov.sharepoint.com/sites/COS_RSJI/_layouts/15/search.aspx?q= capitalism                                                                                             ~   @C |.   Search...

        Videos                                   RSJI Citywide Change Team...


         i          i)    Seattle                          SiEaeiits

             aie 164)


                                                                                          capitalism



                                                                                     rN        aid       Sy) ci     People       Sean                                                                                               ley




                                                                                                  PNT oe                          aa tot
                                                                                                  Pee uM            eee)                                               De BP Cela d
                                                                                                  White, Debbie SHR modified on April 5, 2019 + 17 views
                                                                                                  in the US and around the world (patriarchy, Christianity, capitalism, racism/white supremacy,
                                                                                                  etc... (“if patriarchy, Christianity, capitalism, racism/white supremacy, etc. wasn’t a value of the


                                                                                                  2-11-2019 Training Foundations Meeting Notes
                                                                                                  Anti-Harassment Implementation Core Team            > .... > Training Foundations Work Group
                                                                                                  White, Debbie SHR modified on February 19, 2019 + 5 views
                                                                                                  Attendees: Debbie Loren, Janell, Iman, Patty, Diana, Sallie & Kyana... Met via conference call
                                                                                                  due to the snow... De/colonization (& patriarchy & Capitalism with Racism at root!


                                                                                                  WhyWeLeadWithRace
                                                                                                  SDCI Race & Social Justice Initiative    > .... > caususing
                                                                                                  Sheehy, Katie modified on January 30, 2020
                                                                                                  Classism / capitalism... Racism: System of advantage based on race... The work of equity and
                                                                                                  justice... A member of an oppressed/targeted group in our society who works to dismantle any


                                                                                                  Five-Faces-of-Oppression
                                                                                                  SPU Race & Social Justice Initiative     > Research Library
                                                                                                  Hunter, Natalie modified on June 16, 2009
                                                                                                  The economic theory of capitalism states that people are free to exchange goods freely... Marx,
                                                                                                  the father of socialism, said that capitalism creates “haves” (those that have wealth) and...



                                                                                                PX                RS) tee         Oe        Colt lee            ae oR           Ble)
                                                                                                  SPU Race & Social Justice Initiative     > .... > NYT 1619 Project
                                                                                                  Mickelson, Brian modified on August 21, 2019

                                                                                                   “Low-road capitalism,” the University of Wisconsin-Madison sociologist Joel Rogers has called
                                                                                                  it... houses and slave auction blocks, as the birthplace of America's low-road approach to



(screenshot taken from intranet search for Capitalism done in 2021)




                                                                                                                                                                                                                   DIEMERT_PROD04_10228
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(Picture of City of Seattle video saying that Capitalism and individualism are systems of white supremacy and if you like
either then they degrade you and call you a white supremacist.)


                                        1865 — 13th Amendment

                   ¢ Slavery and involuntary
                     servitude made illegal “                FROM SLAVE TO CRIMINAL WITH ONE AMENDMENT
                                             except
                     as punishment for a crime”.
                   ¢ Slavery by Another Name
                   ¢ Racism Remakes itself
                   ¢ Watch 13%
                   e Read The New Jim Crow




(screenshot taken from City of Seattle RSJI PowerPoint “White Affirmative Action” which is a compilation of incidents
demonstrating “white advantage” and why the United States is a system of white supremacy)



         Transformational, anti-racist organizing within government
         Over the last two decades, Seattle’s Race and Social Justice Initiative has put significant effort into
         building and supporting the necessary infrastructure to create meaningful institutional changes, to
         develop the capacity and skill of racial equity leaders, and build durable, continuous relationships with
         departments and with the community. In the last few years, RSJI has begun moving toward embodying a
         transformational approach to anti-racist organizing. This approach supports anti-racism as a lived
         practice, one that strives to lift up interconnection, creativity, collective health, wellbeing and belonging,
         all of which are central to the ways of being and knowing of Black, Indigenous and People of Color
         (BIPOC) communities. These relational, creative and mindful ways serve as antidotes to the culture of




                                                                                                               DIEMERT_PROD04_10229
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 white supremacy that dominates all institutions and organizations within the United States. This
 transformational, anti-racist approach emphasizes a whole body and soul approach, one that takes into
 account the wholeness of our living systems. It integrates all four levels of racism (internalized,
 interpersonal, institutional, structural) and recognizes how other oppressions intersect with racism; the
 centrality of relationships and culture (in addition to policies, practices and procedures) in institutional
 and structural change; and the importance of repair and healing. We have begun to reflect this
 transformational approach to anti-racist organizing across RSJI structures, trainings, Racial Equity Toolkit
 processes, policy work, group dialogues and more. While this year has been increasingly taxing, the
 influence of the RSJI Network across the City has proven that City employees have built practices of
  resiliency, strategic collaboration, collective leadership and policy impact.

 And still, there is more change that we need to create together. Despite the many positive impacts of
 these growing shifts, widespread change has been slow coming. The urgency and constraints brought on
 by COVID-19 have exposed how effortlessly our institution can slip back into well-honed and often
  unconscious patterns. The pandemic has revealed that when uncertainty and anxiety are high, analysis,
 culture-setting and decision-making remain in the hands of a few. Despite our best intentions, when we
 are not aligned and clear about what a transformative, anti-racist approach to change looks and feels
 like, we often move from assumptions and old tropes, using opaque communication, reinforcing silos
 and creating new ones, increasing disconnection and disregarding history. We engage more superficially
 with those most impacted by systemic racism and other intersecting forms of oppression. We design
 programs and make decisions without clear and explicit racial equity goals guiding and threaded
 throughout our work. We revert to questions of diversification and increased access, skipping the north
 star of structural change.

  It is in these times — the times we are in right now — that we become even more aware of how vital a
 transformational, anti-racist approach is. The pandemic has laid bare the ways that the system of white
 supremacy impacts our human and planetary health, including that of our economy, with massively
 disproportionate harms to our BIPOC communities, including our very own City workers. We no longer
 can afford to do our work in ways that consciously or unconsciously put business interests and political
 cover before the needs of our communities. The RSJI Network holds an essential and pivotal role by
 supporting a government response that is anti-racist, rooted in interconnection, creativity, collective
 health and wellbeing. As key leaders moving racial justice work across departments and areas of work,
 we must be aligned and in close relationship, so that we can replace individualist, fracturing norms with
 the full and beautiful potential of our collective power.




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           Specific topics
                    What is transformational, anti-racist organizing?
                   RSJI Truths
                   Anti-Racist Principles and how we apply them as government
                   4 types of racism, power and both social and hierarchical positionality
                   Racial hierarchy and internalized racial oppression
                   Understanding interconnection, collective health and wellbeing
                   Understanding and applying the Our Bodhi Project Embodying Belonging & Co-liberation Frame
                   Building Relational Culture (vs. white supremacy culture)
                   RSJI Spheres of Influence and accountability
                   Collective vs. individual movement
                   Vulnerability, self-awareness and growth mindset
                   Contours of ego and being in power
                   Decision-making for racial equity, social justice and belonging
                   Navigating resistance, difficult situations and institutional barriers



        The purpose of this series
        Through this series, key RSJI leaders from across departments will:
            Develop a shared, basic foundation (frameworks, language, understanding, skills and practices) for
            transformational, anti-racist organizing within and through the City, and what this means based on
            their social positionality, positioning with the institutional hierarchy, and specific job functions.
            Experience alignment with other key leaders and develop skills to better align their departments
            with an overall vision and practice of transformational, anti-racist organizing.
            Feel more able to move their departments toward transformational anti-racist practices and
            outcomes based on an understanding of their roles within the collective that is the Citywide RSJI
            Network and in accordance with the Anti-Racist Principles and RSJI Strategic Plan.
            Understand how the SOCR RSJI Team historically has been and remains charged with designing RSJI
            strategy and content, and with supporting RSJI efforts across the City.

(Embedded pictures above comes from City of Seattle RSJ Event Invite in email labeled Shape-of-
Trust-Key-Leaders-Invite.pdf)

        These radical views are part of their ideological framework because their internal and external
policies revolve around the Race and Social Justice Initiative which is based on the Critical Race
Theory ideology. The City of Seattle promulgates race essentialism which is why they state they “lead
with race”.




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                      Why lead with race?

                      The RSJ Initiative leads with racism because race has shaped our institutions and policies in the United
                      States in ways that have prevented us from achieving equity. Until now, government typically has
                      responded to inequities — when it has responded at all — by developing programs and services to lessen
                      its effects. To achieve equity, however, we must focus on root causes. Ending institutional racism
                      involves more than simply developing programs to help people of color. RSJI is Seattle’s effort to change
                      the underlying system that perpetuates racial and social inequities.

                      To challenge racism, we have to look beyond individual acts of prejudice to the systematic biases that
                      are built into our institutions and our society. We are not to blame for what happened in the past, but
                      we are responsible — both personally and institutionally — for eliminating racism and its legacy today.

(embedded picture taken from RSJI: Our Approach handout)

        The City of Seattle places race above everything else. Race is more important than being a
subject expert, experience or diversity of thought when creating committees, focus groups, funding or
promotional opportunities.
                      ~—YewVwwuwive




                ii.   Vanessa: What was the make-up of the focus group?
                          1. Jackie: good representation on the employee group (mix of Asian, African
                              American and White); wished they got more representation from Hispanic.
               iii;   Vanessa: What is the plan for keeping the information updated?
                          1.  Linda: lead by representative of each divisions; ideally the rep will coordinate
                                 with their division. Linda/Jackie will have kick-off conversation                and Find out
                                 where the information exists and/or needs to be created. Can force centralized
                             or keep everything decentralized. The content owners will be responsible for
                             keeping it updated
               iv.    Pam: Follow-up on the make up of racial of the city.
                          1. Jackie: will follow up on this and asked if Vanessa (with WARU) if she had the
                             information.
                          2. Vanessa: confirmed she can get this information and there is a demographic
                             dashboard.


(screenshot taken from Seattle Department of Human Resources RSJI Change Team Meeting Notes 11/2020)
                                                  )/#905322-f7a3-4baa-acbe-b8c1b9c99b23

                                         Stream




                                                                                 * Name, Race, Pronouns,
                                                                                   Access Needs Met?
                                                                                 * Consider your body, heart
                                                                                   and soul as you respond to
                                              Small                              _ these questions:
                                                                                          1) What resonates for
                                             Group                                     you? Why?
                                            Exercise                                   2) Where might
                                                                             i         resisting? Why
                                                                                 * Set a date for your
                                                                                  meeting



(Screenshot from City of Seattle meeting. They require you tell your race at meetings and are trying to get people to put it in
their email signature along with your pronouns)




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                  ay             RSJI structure


                      Every Seattle City department is responsible for:
                           Incorporating racial equity into its own
                           programs, services, policies, etc.
                           Creating an annual RSJI Work Plan.
                           Maintaining an RSJI Change Team.
                           Using RSJI tools, e.g. the Racial Equity Toolkit.
                           Participating in RSJI Subcabinet.
                      Interdepartmental teams work together on
                      key equity issues, e.g. criminal justice, education,
                      and equitable development.



        RSJI is systemically incorporated and embedded into everything done in the City of Seattle.
RSJI is based on race essentialism. It denounces equality, color-blindedness and individual merit or
actions and places everyone in groups of oppressor and oppressed based on superficial characteristics
such as the color of one's skin. RSJI is not just training, but is embedded into everything we do.

                        Assimilation — only with the people at the bottom
                        Colorblindness — nowhere- so while colorblindness as a lofty, visionary
                        intent, it’s impact is oppressive because it keeps a system which churns
                        out inequities in place, unchallenged.
                        Diversity/multiculturalism — the people at the bottom and the guy at the
                        top — even he is asked to go through a prejudice reduction workshop. So
                        some change happens at individual level.
(screenshot from City of Seattle RSJ Equity Lens training arguing against using diversity trainings or being color blind
because they uphold the systems of white supremacy)

        The City of Seattle proclaims in their Charge Response that the department engages in
“anti-discrimination and anti-harassment training to ensure equity of service delivery and equity within
the workplace environment” but this conflicts what they say internally.




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         inweb/rsji/communication.htm                                                                                                                                        ~   G || Search...

                GH 11.420 SDHR RSJ Chang... ij 12.16.20 SDHR RSJ Chan... G gbc-word-view.officeap...          Race and Social Justice |. & Race and Social Justice |... & Race and Social Justic.. x ® Race
                                                                                   conscious of this issue. He decided to focus on the impact of race because systemic oppression based on
                                                                                   race and ethnicity has shaped all aspects of American life. Here in Seattle, institutional racism shapes
                                                                                   where we live, where we work, how well we do in school, how long we will live, and the likelihood of our
                                                                                   involvement in the judicial system.

                                                                                   Institutional racism impacts all of us, whether we're straight or gay, able-bodied or disabled. The Initiative
                                                                                   acknowledges the profound impact of race on our city, and the huge cost of nof creating a more equitable,
                                                                                   inclusive society.

                                                                                   What do you mean by “institutional racism?”

                                                                                   racial prejudice + systemic power = institutional racism

                                                                                   Institutional racism uses skin color to grant power and privilege to one group, and to limit power and
                                                                                   privilege for other groups. This system of power and privilege based on skin color is enforced by the
                                                                                   institution's policies, practices and procedures. It appears normal and often operates automatically and
                                                                                   invisibly.

                                                                                   More than 70% of the people who live in Seattle are white. How will the RSJ Initiative benefit them?

                                                                                   Everyone in Seattle can benefit from changing how the City conducts its business. Long-term results will
                                                                                   include:

                                                                                        +   Reducing the cost of litigation and mitigation due to discrimination;
                                                                                        +   Reducing the expense of coping with systemic problems caused by institutional racism;
                                                                                        *   Improving the sense of trust and value in government.
                                                                                        +   Unleashing the full potential of our community.

                                                                                   Diversity is not a problem waiting to be solved; it is an asset waiting to be utilized.

                                                                                   Will RSJ work prevent City employees from taking care of their real work?


                                                                                                  serious effort to examine                  cts its business,               olicies,
                                                                                   practices and procedures that exclude and deny. Quality programs and service belong to everyone.

                                                                                   What changes will the average Seattle resident notice in City programs and services as a result of
                                                                                   RSJ?

                                                                                        * Hiring/promoting employees who represent Seattle’s cultural and ethnic diversity.
                                                                                        * Increasing the amount of business the City does with minority-owned businesses, so that our
                                                                                          expenditures as a City reflect the City’s demographics.
                                                                                        + Ensuring diversity in the City’s boards, commissions and neighborhood groups.
                                                                                        + Making City policy decisions that reflect our diversity and are aimed at dismantling institutional
                                                                                          racism.
                                                                                        + Using race and social justice as a standard for good business practice and government action.
                                                                                                                                                                                                  Back to top




(embedded picture is screenshot of City of Seattle in-webs stating that they do not teach diversity training)
                      -             There are also diversity trainings.                                          Has anyone been to a diversity
                      training? What happened? How did it feel?


                      There are different kinds of these; sometimes they’re called cultural
                      competency trainings, sometimes prejudice reduction workshops. Has
                      anyone ever been to one of these kinds of trainings? What do you do at
                      these trainings?




         Depending on how it’s done, there are aspects of this strategy that are arguably
         really positive:

               e      This strategy acknowledges and appreciates difference.                                                                            It also encourages
                      us to examine our own personal prejudices and stereotypes so that our
                      interactions with other individuals are respectful.




         Equity Lens Training — Scott Winn, 2012                                                                                                                                                  Page 6




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          e   On the other hand, if our goal is justice and equity, there are ways that this
              model could be seen as limited or even counterproductive, depending on
              how it’s used:
          e   People in dominant categories in a position to be taught by members of
              marginalized communities. Often looks like people of color being asked by
              the trainer to perform their “difference”           for white folks. This keeps white
              folks at the center and can cause folks to feel objectified or tokenized.
          e   This model is focused on changing individuals. The goal is for individuals to
              shape up and treat other individuals well so that people get along. It can
              end up sending the message that as long as I’m treating other people nicely
              and not saying anything offensive about another person’s race, or gender of
              sexual orientation, then that’s all | can do.
          e   Oron the flip side: as long as no one’s saying anything offensive about my
              race/gender/sexual orientation, then what do | have to complain about.
          e   That is why corporations love diversity training — it helps people get along
              better, get better work done, which means more profit. It also helps them
              keep away from legal trouble.


      So, in diversity strategies we have dialogues across difference- so we might have a
      dialogue on race. If we were to switch from a diversity strategy to an anti-
      oppression strategy the conversation would shift as well. So instead of a
      “dialogue on race” it would be called a “dialogue on          what?”

          e   Someone usually says racism- which is great. Sometimes they say “a
              dialogue on oppression” if they do say, yes, if we had oppression to a
              dialogue on race, what would it be called? Then someone usually says
              racism.


(above 2 screenshots discussing why the City of Seattle doesn't conduct anti-discrimination or anti-harassment training is
taken from RSJI Equity Lens Training guide for facilitators, also in PDR_RSJI 1)



        Internally, the City of Seattle says that “anti-discrimination and harassment training” only
uphold the System of White Supremacy and state that because these trainings uphold White Supremacy
that they do not teach them, and instead conduct “Anti-Racism” sessions which do “real work” and are
actionable. Anti-Racism sounds good on its face, and using colloquial language we can all agree that
being anti-racist is a good thing, but the City of Seattle has its own definition for Anti-Racist. They are
not just teaching theories but are implementing praxis and instituting them into the structure of the City
of Seattle itself.




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                                                       e Anti-racism means to explicitly address racist
                                                         policies, procedures, practices in order to
                                                         reduce racial inequities
    Wh        Shi     IS                                      ¢ This also includes addressing power and
                                                                  gatekeeping within the organization
    aN ale                                             ¢ It requires a root cause and structural
    Racism?                                               analysis
                                                       e Anti-racist practices include centering the
                                                         most impacted by racism, such as the Black,
                                                         Indigenous, and People of Color (BIPOC)


(screenshot taken from Let's Talk Race 2 PowerPoint used in RSJI training)



                           TRANSFORMATIONAL,                          ANTI-RACIST                  ORGANIZING
                                                              RACE & SOCIAL JUSTICE INITIATIVE




                                                                                                 Consider your body, heart and soul as
              TRANSFORMATIONAL, ANTI-RACIST ORGANIZING                                           you respond to these questions: 1)
                Some of the components that have emerged/are emerging                            What resonates for you? Why? 2)
                                   as part of this approach                                      Where might you be resisting? Why?

         Supports anti-racism as a lived and life-affirming practice.
          e Strives to lift up interconnection, creativity, collective health,
            wellbeing and belonging, all of which are central to the ways of
            being and knowing of Black, Indigenous and People of Color
            (BIPOC) communities.
          e Understands that transformational work is about co-liberation (all
            of our liberation) and that this includes people, land and nature.
          e Acknowledges how relationships and culture (in addition to policies,
              practices and procedures) are central to institutional and structural
            change.
          e Acknowledges that we organize, we move people, in relationship.
            This is what we call relational organizing.
          e   Able to center, hold reparative and healing practices and processes.


         Shifts from knowing what is true to feeling what is true, and
         letting that shape our knowledge.
          e Knows that we must feel the feelings in our bodies — when we
             experience belonging, justice, and also white supremacy (the
             disembodiment, etc.).
          e Centers relational, creative, mindful and body-connected ways that
             serve as antidotes to the culture of white supremacy.
          e Emphasizes a whole body and soul approach, one that takes into
              account the wholeness of our living systems.

         Integrates all four levels of racism (internalized, interpersonal,
         institutional, structural) and intersections with other forms of
         oppression.

(screenshot taken from City of Seattle RSJI handout TRANSFORMATIONAL, ANTI-RACIST ORGANIZING)




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        The term anti-racist organization derived from the People's Institute for Survival and Beyond.
The City of Seattle copied and adopted PISAB's core principles and applied them to the city framework
with the help of Critical Race Theorist Robin D'Angelo, who was also contracted to create the City of
Seattle's RSJI training program.

        From: Taylor, Travis
        Sent: Wednesday, October 26, 2016 8:47 AM
        To: Peguero, Christopher <Christopher.Peguero@seaittle.gov>; RSJI_Core_Team_3<RSJI_ Core Team 3@seattle.gov>; RSJI_Core_Team_4
        <RSJI_Core Team 4@seattle.gov>; RSJI_Core_Team_2007_2009 <RSJiCoreTeam20072009@seattle.gov>; RSJI_Citywide_Change_Team
        <RSJICitywideChangeTeam@seattle.gov>; RSJI_IOPE_Group <RSJ|_|OPE Group @seattle.gov>; RSJI_VoicesOfChange <RSJI_VoicesOfChange                        @Seattle.Gov>;
        SCL_RSJI_ChangeTeam <SCLRSJIChangeTeam               le.gov’
        Subject: RE: KUOW/ White people, it's time to realize you're white. And that matters

        Thanks for sharing this Chris. It’s fantastic. I’m caught by the author’s statement that Robin created the City’s Anti-racism training, which ignores the
        contributions of others, specifically Darlene Flynn, Scott Winn and others in the development of RSJI training. We have such a strong cadre of RSJI trainers
        and facilitators of race-based conversations.. Aside from that mischaracterization | really appreciate the clarity and framing this article provides, which
        resonates strongly with me.



         ‘Cravis Caylor
        EEO/Strategic Advisor
        Human Resources, Seattle Fire Department
        301 Second Ave S
        Seattle, WA 98104
        (206) 733-9458 p
        (206) 386-1259 f



        From: Peguero, Christopher
        Sent: Wednesday, October 26, 2016 08:30
        To: RSJI_Core_Team_3;    RSJI_Core_Team_4;    RSJI_Core_Team_2007_2009;        RSJI_Citywide_Change_Team;   RSJI_IOPE_Group;   RSJI_VoicesOfChange;
        SCL_RSJI_ChangeTeam
        Subject: KUOW/ White people, it's time to realize you're white. And that matters

        An incredibly invaluable piece from KUOW.          The link has audio from a Bill Radke interview with ROBIMIDIARGEISG, it is definitely worth a listen.




        White people, it's time to realize you're white. And that matters




        By BILL RADKE, CAROLINE CHAMBERLAIN         & JASON PAGANO     38729. OCT 20, 2016
        Related Program:
        The Record
        =


(Screenshot of internal City of Seattle email)




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        The assertion by the City of Seattle that I did not express my concerns to the City of Seattle is
blatantly false. I reported my issue with multiple managers, supervisors, HR representatives, my union
rep Shaun Van Eyk and multiple different trainers and co-workers. I complained multiple times but
was repeatedly told that I had no right to feel comfortable in the workplace because I was white and
white people were responsible for the issues People of Color face today. The facilitator guide created
by the creators of RSJI, Robin DiAngelo and Darlene Flynn tell trainers to say this as well.

       Every day a person of color wakes up knowing that they will receive actions and comments that hurt and anger them because
       of their race. They have to decide each time how to handle it — It is exhausting. Let it go, or confront people. Take the
       opportunity to teach someone and accept the possibility of attack and denial.

       It is best in training to have a script prepared to know how to deal with the complaint that someone doesn’t feel safe and
       doesn’t want to talk. Sometimes it is best for a person of color facilitator to address concerns of people of color and a white
       facilitator to address white concerns.

       Do not get into a debate, it isn’t about safety, it is about levels of comfort

       Start with “this comes up often”



       Books:
       “Let's Get Real: What People of Color Can't Say and Whites Won't Ask About Racism”
       Lee Mun Wah

       “Is Everyone Really Equal”
       Robin DiAngelo, PhD



       Handouts:
       Language for Leading and Facilitating Change
       The Five Truths about Fear

(screenshot is from instructions for facilitators labeled RSJ Safety Issue Training By Darlene Flynn and Robin DiAngelo)




                                                                                                                                   DIEMERT_PROD04_10238
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      From:                                Diemert, Joshua
      Sent:                                Wednesday, November 14, 2018 10:08 AM
      To:                                  Van Eyk, Shaun
      Subject:                             Compulsory RSJI classes


      Good Morning,

      | have issues with some of the mandatory training we have to attend as an employee of Seattle. Is there a way we can
      have a meeting? Some of it has to do with the material being taught, which | have found to be extremely racist as it
      blankets entire groups of people with stereotypes based solely on the quantifier of skin color. | also have found them
      teaching erroneous material, and revised history. | have a background in these subjects, graduated cum laude and have
      extensively studied some of the material they are revising. In my RSJI classes, a few of the things that they instructors
      have taught are:

          e      The 13" amendment is racist and a tool of enslavement
          e      Wealth redistribution is the only mechanism to fix the issues at hand
          e      Individuality or the want to always better yourself are tenants of white supremacy
          e      Looking at the content of character and being colorblind is a tenant of white supremacy (what MLKJ proposed)

      | can go on, but | think the point is made.

      Also, in an RSJI training provided in the Central Building last year, the trainer had a power-point where he was referring
      to a study by the Brookings Institute that | am really familiar with. He used their graphs, except that he edited them. |
      wouldn’t have noticed except that my OOC Supervisor at the time, Tina Inay, whom | was sitting next to, asked, “how
      come everything is about black and white? What about Asians?” Tina is Asian. | told her that we can easily find out by
      looking up the study and seeing for ourselves. When | did, | found that they completed removed Asians from the graph
      even though the same pic from the study included Asians. It was obvious why they did it. It would have countered
      everything they were espousing. The graph was concerning economic mobility. They used the graph as proof that
      America was based on a system of white supremacy because black Americans had a harder time moving up in class
      compared to their white counterparts. What they removed was the fact that Asians as a whole start out on the lowest
      rung, underneath black Americans, and excel past white Americans to the top of the economic ladder. While referencing
      the study, the trainer said that it was a myth that it was due to fatherless homes or the cultural importance of education
      when the study he was referencing actually lists those as the causes!


      Also, | find it interesting that a lot of the handouts come from Communist or hard left Socialist websites. How do | know?
      At the bottom of most handouts it will have a footer. Do a reverse search for the document and you can see who hosts
      the forms.


      Plus, they offer segregated classes dependent on skin color. How is this legal?


(screenshot from portion of email filed as Union11.13.18.pdf)




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       I also told the members of the Change Team, Caucuses and Affiity Groups to stop sending me
discriminatory and racist material or emails but they did not listen and continued to do so.



             RE: 12/04 (Today) White Caucus Meeting Agenda                        ©     Inbox      yy


                     Diemert, Joshua                                              oe        =>
                     to Bowling
                     9:11   AM   View details



            Good   Morning,



            Please remove me from your email list. Although you have not included your
            discriminatory material in this email, | find your overt racism offensive and
            will file harassment charges with the EEOC if you continue. | am not sure if
            you are aware of this, but it is illegal both under federal and local laws to
            discriminate, and stereotype entire populations of people based solely on the
            color of their skin in the workplace.



            Please do not email again unless it is directly related to the work | do.



            Thank you,



                    T \       Joshua A. Diemert
                     | N      Program Intake Representative, Utility Assistance Programs
                              City of Seattle, Human Services Department
                              O: 206.684.0268 | F: 206.621.5012
             Facebook | Twitter

            “| have a dream that my four little children will one day live in a nation
            where they will not be judged by the color of their skin but by the content
            of their character.”



            ~ Dr. Martin Luther King, Jr



            https://www.eeoc.gov/laws/statutes/titlevii.cfm




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        In their Claim Response, the City of Seattle said, “While the department requires that staff
attend at least two relevant trainings each year as part of the Race and Social Justice Initiative, it does
not specify which trainings an individual must attend. . Whatever trainings a person selects to attend
that meet the themes of the Race and Social Justice initiative, whether they are offered by the City or
by external resources, can be applied toward the training component.”
        First, ALL the trainings that the City of Seattle offers, including externally, are all rooted in
race-essentialism. The trainings all are based on Critical Race Theory so you cannot escape the
discriminatory nature of the trainings. As I previously demonstrated, the City of Seattle does not
conduct or offer“politically correct” anti-discrimination or anti-harassment training that an employee
can take! To meet work performance requirements, a City of Seattle employee must take “Anti-Racist”
trainings which are based on Critical Race Theory.

v:/t/HSD/HR/_layouts/15/Doc.aspx?sourcedoc= %7B6FFB3802-F34E-4DCE-976C-D08C37386DB1%7D&file= Training %20Attendance%20Sheet%202019.doc                         +   @   OG | | Search...

endance Sheet...   ™   ca


                                                                              Training Attendance Sheet 2019                 v




                               Training Attendance Form                                                                                             Gi Seattle.
                               This formrecords an ytraining taken outside o fCornerstone. Thein formation submitted will be transferred
                                                                                                                                       to your                 luman           ces
                               Cornerstone training transcript. Submission ofthe attendance sheet wth signaturesis required for group submittals.

                               EMPLOYEE          INFORMATION
                               Name:                                                                             Division:

                               Position Title:                                                                   Date:

                               TYPE OF TRAINING ATTENDED:
                                O RSJ HSD TRAINING or EVENT: To further individual development and commitmentto race and social justice work in HSD, all
                               employees are required to participate in at least two (2) ofthe following activitieseach yearafter
                                                                                                                            their firstyear o femployment:

                                   1.   Anti-racism or institutional racism training conducted inside or outside o fthe City.
                                   2.   Conferences or workshopsthat indudean anti-racism or intuitional racism learning opportunity.
                                   3.   Actively participated on an established work group responsible for producing anti-racist work recommendations and outcomes.

                               O REQUIRED TRAINING
                               O PROFESSIONAL GROWTH
                               O SKILL DEVELOPMENT

                               EVENT/ACTIVITY INFORMATION
                              Title of event or work group:                                                      Date(s) of participation:

                               Location of event:                                                                Duration (hours):

                               Please provide a written description of the event, training or the anti-racistwork you completed. You may attach an agenda or other
                               written documentation in lieu of a written description.




        Just because the City of Seattle allows you to take WHICH class you take, doesn't mean it is
optional. It is not. Also, as described in the email correspondence that the City of Seattle provided to
EEOC itself, the City doesn't offer a lot of options in the classes you get to pick from. After working a
few years for the city, an employee runs out of RSJI classes that they can sign up for which forces them
to take the more egregious classes to fulfill their requirement, such as the racially segregated trainings.
This is why in 2019, I ended up being forced to sign up for the Undoing Institutional Racism class
offered by the People's Institute for Survival and Beyond. It was probably the most humiliating and
discriminatory training I was required to take.




                                                                                                                                                        DIEMERT_PROD04_10241
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       Also, each year the City of Seattle has additional RSJI classes that they mandate that you take
on top of the two RSJI trainings that get to choose.


                                                                                           %2FQuick %20Links %2FRSJITrainingStatus %2Epdf&parent=%2FHSD%2FHRS
 s://seattlegov.sharepoint.com/HSD/HR/Documents/Forms/Allitems.aspx?id= %2FHSD %2FHR%2FDocuments                                                                                  *

                                                 & seattlegov.sharepoint.com       x    By


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                                                                                                                   Required RSJI Training
                                                                                                      HSD's commitment to race and social justice is paramount.
                                                                                                            Questions? Contact Lupe Vidaurri at ext.4-0103
                                                                                  * All employees are required to complete Race: The Power of an Illusion, Udoing Institutional
                                                                                  Racism, and OCR RSJI Implicit Bias & Policy.




                                                                                                                              # of
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                                                                                                                           Institutional Racism
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                                                                                       HSI                                           31
                                                                                       LAD                                           61
                                                                                       YFE                                           56




                                                                                   Division
                                                                                       ADS
                                                                                       HSI
                                                                                       LAD
                                                                                       YFE




                                                                                                                                                  DIEMERT_PROD04_10242
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        The City of Seattle started lying about the trainings after they were investigated by the DOJ.
The RSJI trainings have always been mandatory. While being investigated, the Mayor put out a
statement saying that they were optionable. Some of my co-workers and myself attempted to stop
taking them and have them removed from our work reviews but were told that the Mayor's statement
was incorrect and we were still required to take them. Fortunately, because of COVID, we were
excused for not taking them that year.

                                          Rick Falsetta
                                  A      Mobile




                                             Today 4:53 PM




                         | will not be taking any more of them,
                         | agree with you.




                       +)             IbyeceMtsrte (me




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       The response from the City of Seattle also implies that the only RSJ trainings that I
have received are the ones listed in Cornerstone but this is false. We have RSJ trainings
embedded into every meeting, retreat, summit, event, etc we must attend. We also have
specialized trainings that are designed for our units and departments that we go to as a
group. The RSJ ideology is also incorporated into everything we do, so even without the
trainings we are still subjected to the racist ideology the RSJ trainings are rooted in. Even if I
never took a single RSJ training, I would still be subjected to racist and discriminatory
ideology that is embedded into everything we did at the City of Seattle. Its ironic because the
City of Seattle proclaims they are fighting systemic racism, but have systemically embedded
an ideology based on race-essentialism that uses racial stereotypes, racism and
discrimination into the framework of the City itself.
       The City of Seattle requires all employees to embrace the race essentialism, racial
stereotyping and racial discrimination that the Race and Social Justice Initiative is based on.
They maintain strict adherance and do not allow anyone to disagree or be allowed to hold a
different viewpoint. In 2021 I attempted to create a non-race based affinity group that focused
on people's commonalities rather than the differences in their skin color and I was denied.
Internal emails I received from a Public Disclosure Request show that there were no rules
pertaining to the creation of new affinity groups and that they created them so that I could not
create a non-race based group.
       In a rebuttal to me wanting to create a non-race based affinity group that rejects racial
stereotypes, HR strongly reminded me in the email that “HSD staff are also required to
support the goals of the Race and Social Justice Initiative and the City’s commitment to
workforce equity according to the City’s Core Competencies that are outlined in HSD’s
Workplace Expectations, see attached on Page 6” because the discriminatory race based
RSJ is not just traning, but an ideology that is embedded into everything we do. We are
forced to judge everyone by race, stereotype and give different races attributes based on their
skin color and that if believe in being colorblind, or in judging people on individual merit then
we are labeled as white supremacists and told we can be fired for not following RSJI.




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        Sent: Monday, August 02, 2021 8:44 AM
        To: Diemert, Joshua <Joshua.Diemert @seattle.gov>
        Cc: Nikki Dias <nikki@pte17.org>
        Subject: RE: Affinity Groups
        Joshua-
        | am very sorry to hear about your recent accident and hope that you and anyone else involved are
        alright. | have taken over leave duties at HSD until Tina’s position is filled. Please reach out to me if
        you have any leave needs stemming from your accident.
        About your request regarding affinity groups, at this time, you have not been authorized to begin
        work on an affinity group. So, please hold off on moving forward with utilizing any City platforms like
        SharePoint pages or City e-mail to send information about an affinity group until you have received
        proper authorization to move forward.
        City-sponsored workgroups, including the creation of affinity groups, that are approved for staff
        participation would need to support the City’s Race and Social Justice Initiative as stated on the
        City’s SharePoint page for affinity groups where it is stated: “During off-work hours or during work
        hours with special permission, City of Seattle employees meet regularly to organize affinity groups
        focused on forwarding the City of Seattle's Race and Social Justice Initiative's efforts to eliminate
        racial disparities and achieve racial equity in Seattle.” Here is a link to the City’s affinity group page
        for reference: https://seattlegov.sharepoint.com/affinity. Our HSD staff are also required to support
        the goals of the Race and Social Justice Initiative and the City’s commitment to workforce equity
        according to the City’s Core Competencies that are outlined in HSD’s Workplace Expectations, see
        attached on Page 6. HSD leadership has delegated management of its affinity groups (called
        caucuses) to the HSD Change Team. To proceed with your interest in creating an affinity group at
        HSD you will need to go through the process of making a proposal to the HSD Change Team. The
        current Change Team co-leads are Shay Brown and Krista Sneller. This is how other affinity groups at
        HSD have come to be. They will review your proposal to ensure any new affinity group would
        support and advance the efforts of the City’s RSJ Initiative and aid in eliminating racial disparities, as
        stated on the City’s affinity groups SharePoint page.
        Ryan




The Change Team advoicates race-essentialism and promotes an ideology that stereotypes
entire groups of people based on their skin color. Their job is to ensure that this discriminatory
ideology is being taught to the workforce and that all policies and procedures are created
using an intersectional critical race theory lens. There is no rule stating that affinity groups
must be approved by the Change Team or any other body.




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    From: Diemert, Josnuad
    Sent: Thursday, July 08, 2021 2:04 PM
    To: Groce, Ryan <Ryan.Groce @seattle.gov>
    Ce: Nikki Dias <nikki@pte17.org>
    Subject: RE: Affinity Groups
    So, if there is no governance, | should be able to start another affinity group correct? | would like to
    create a non-race-based group that advocates for western liberal values and rejects stereotyping
    people by race. Should | just send out an email announcement or does the city only allow the
    promotion of political ideologies such as Critical Race Theory and Critical Social Justice that
    stereotype people by race?
    Joshua Diemert
     Program   Intake Representative
     City of Seattle, Utility Discount Program
     810 Third Avenue, Suite 440, Seattle, WA 98104
     O: 206-684-0268      | F: 206-621-5012   | Email: joshua.diemert@seattle.
                                                                            gov
    Facebook   | Twitter | Blog

    From: Groce, Ryan <Ryan.Groce@seattle.gov>
    Sent: Thursday, July 08, 2021 1:54 PM
    To: Diemert, Joshua <Joshua.Diemert@seattle.gov>
    Ce: Nikki Dias <nikki@pte17.org>
    Subject: RE: Affinity Groups
    Joshua-
    | received information from to Tamar Zere at the Seattle Office for Civil Rights regarding the
    establishment of affinity groups. She stated that SOCR does not currently have citywide program
    language regarding the purpose of City Affinity Groups. Each affinity group is connected to a City
    department specifically and serves many purposes for that department. She said there have been
    discussions with the Mayor’s Office about formalizing the role of affinity groups within the RSJI
    infrastructure citywide, but, that these conversations have not been fruitful to date.
    So, it sounds like our HSD affinity groups were probably established internally with the support and
    governance of the HSD Change Team. The current caucus co-chairs are all Change Team members
    from what | can gather.
    Ryan
    From: Diemert, Joshua <Joshua.Diemert@seattle.gov>
    Sent: Thursday, July 01, 2021 9:45 AM
    To: Groce, Ryan <Ryan.Groce@seattle.gov>
    Ce: Nikki Dias <nikki@pte17.org>
    Subject: RE: Affinity Groups
    Thank you for your quick response.


(Above screenshots from email chain labeled 2021.8.2 RE_ Race Based Affinity Groups.PDF)




                                                                                                      DIEMERT_PROD04_10246
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               From: Zere, Tamar <Tamar.Zere@seattle.gov>
               Sent: Wednesday, July 07, 2021 10:22 PM
               To: Groce, Ryan <Ryan.Groce @seattle.gov>
               Subject: RE: Affinity Groups
               Hi Ryan,
               My most sincere apologies for not responding to your email sooner!
               Unfortunately, SOCR does not have language regarding the purpose of City Affinity Groups. As you
               can imagine, each affinity group is connected to a City department and serves many purposes.
               Generally, it is a space where cultural issues are discussed and because they are not formally
               sanctioned spaces, they often struggle with membership, funds, and resources. There have been
               discussions with the Mayor’s Office about formalizing the role of Affinity groups within the RSJI
               infrastructure. But these conversations have not been fruitful to date.
               Thanks for reaching and | promise to respond sooner next time!
               Tamar

               From: Groce, Ryan <Ryan.Groce@seattle.gov>
               Sent: Thursday, July 1, 2021 8:30 AM
               To: Zere, Tamar <Iamar.Zere@seattle.gov>
               Subject: FW: Affinity Groups
               Hello Tamar-
               My name is Ryan and | am the Employee and Labor Relations Manager at HSD. | received a question
               from an employee about affinity groups and how they are established. | have information about
               caucuses we have within HSD that are sub-groups of our RSJ Change Team, but that may not be the
               information this person is seeking. My HR Director, Terry McLellan encouraged me to reach out to
               you to see if OCR has language about the purpose of City Affinity Groups. She seemed certain that
               City Affinity Groups are in place to advance learning of RSJ, provide support and complete work as a
               collective to address and leverage racial inequity and social injustice, but anything you have from
               your office would be great.
               Thanks and let me know if you have any questions.
               Ryan
                Ryan D. Groce (he/him)
                Employee & Labor Relations Manager
                City of Seattle, Human Services Department
                O: 206.684.0116 | F: 206.470.6709 | Email: ryan.groce@seattle.gov
                PAARL AARL   | Tissittann




        I included these email chains to show that there is no going around their discriminatory
ideology and they demand strict adherence, including in the trainings they offer. The only trainings that
are approved must adhere to an ideology that discriminates and stereotypes people based on their race,
religion, sex, etc. RSJI is explicitly rooted in the ideology promoted by the People's Institute for
Survival and Beyond (PISAB), Challenging White Supremacy Workshop, Critical Race Theorist Robin
DiAngelo, and Kimberle Crenshaw's Intersectionality. The City of Seattle's RSJI stems from its
predecessor, the UIR Group, standing for the Undoing Institutional Racism Group. It was created after
a small group was funded to attend a UIR workshop in Louisiana conducted by PISAB. The group
came back and founded a club called UIR and began pushing to install its ideology within the City of
Seattle. That ideology is Critical Race Theory. That club slowly was able to implement policies and
worked with PISAB to lobby the City for the RSJ Inititative. The Initiative was created and the UIR
club changed its name to RSJI Change Team. Since then it has expanded greatly, and under an
executive order directive signed by Mayor Murray, it has now become the central focus of the City of
Seattle. The Office of Civil Rights is the primary department used to implement its ideology into
policies by using the Racial Equity Toolkit (RET). They have implemented a discrinatory ideology into
everything we do at the City. Like they said, they don't conduct politically correct anti-discrimination




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trainings that teach employees how to intereact at work. The trainings are used to teach the ideology
and to instruct workers to implement the ideology into their work. We cannot get away from it, even if
we take the risk of getting bad work performance reviews for not signing up for any of the RSJ
trainings. You cannot escape the discrimination and racism and it has created a hostile work
environment, expecially if you don't adhere to their ideology. They use shaming and other public
pressure tactics to make any hesitant workers follow along. They threaten our jobs with it. It is in
emails, in posters, in flyers, in every discussion. If you are a straight, white, Christian, male that
believes in the western liberal values the United States is founded on, or uphold capitalism, you have a
target on your back. You are not allowed to have those beliefs. If you do, you are labeled as a white
supremacist, and you are ostracized.

  CA       Notsecure   | seattle.gov/rsji/resources


  Gil) Seattle              | 8% English v

  Key RSJI Documents

       RSJI Truths

     = Building a Relational Culture

     = 4 Types of Racism

       2022-2026 Strategic Plan


_ loo ves the Antadst Orgoning Pines of the People’s state fr Survival and Beyond Ho wk
  The Shape of Trust
  Tools and activities to help racial justice organizers create transformational anti-racist change.


     = Explore The Shape of Trust



  COVID-19 Racial Equity Tools

     = Condensed Racial Equity Toolkit

     = Racial Equity Toolkit for COVID-19

     = Racially Equitable Decision-Making Data Tools for COVID-19 Responses




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                                   RACE & SOCIAL JUSTICE INITIATIVE                     XR   |




                                                     RSJI       TRUTHS
Truth       I: Colonialism               is at the     root of white         supremacy.
Our current racial    landscape is the end result of ongoing colonization that seeks to exploit, erase and
invisibilize Indigenous peoples. Government is established through colonialism and has created and
continues    to    maintain    racism.


Truth       2: We      live in a highly            racialized         society — i.e. race        matters.
This is evidenced in people’s stories about their lived experiences and in all the data about life
outcomes related to racial advantage and disadvantage — economic, health/life expectancy, education,
criminal justice, housing, the environment and more.
Truth       3: Racism          is based       on the legal and             social   construction        of whiteness.
When      talking about race and racism, we also need to talk about whiteness: the construction                           of
whiteness, how a preference for white was created, how it has been maintained for generations and
how    it functions.

Truth 4: We’re all part of the                         picture.       None    of us asked         for this and we              all
have roles to play.
It’s not possible to  live in the United States and not experience the impacts of colonialism, structural
racism, and other intersecting forms of oppression (unearned advantage or disadvantage) on our lives.
None of us are responsible for the past; but all of us are responsible for the present and to some
extent, the future.

Truth       5: Our      health       and     wellbeing          are interconnected,              our liberation           tied.
White supremacy disconnects us from ourselves, each other and all         1g systems. Our anti-racist
work must include attention to the inherent interconnection of all living systems and the reality that
our health and wellbeing are collectively defined. We organize for our co-liberation. Anti-racism is a
lived practice that integrates our mind, body, heart and spirit.

Truth        6: We     honor        and      lift up    BIPOC         organizers.
Generations of Black, Indigenous and People of Color have created the path to our organizing today.
Our work is only sustainable when the health and wellbeing of those most impacted, those leading
the work — Black, Indigenous and People of Color — is centered.

Truth       7: Government                 has a respon:                ity to be anti-racist.
Racism and other intersecting forms of oppression are embedded and manifest throughout
government, from our policies, practices and procedures to our culture and the ways we do our

Version     |. October        13, 2020




work. As City employees it is our responsibility to understand, challenge and work to dismantle
racism and replace it with an anti-racist reality in which we all can thrive.
Truth       8: Comprehensive                  solutions         require      examining       all 4 levels of racism.
Interpersonal, institutional, structural and internalized racism are constantly present and reinforcing
one another. We must analyze the different impacts at each level and make de:        jons that integrate
that holistic understanding.
Truth       9: Internalized              racism      affects all of us.
Effective, multi-racial, anti-racist organizing requires attention to the internalization of racism and its
unique     impacts on BIPOC and white people. How we internalize other forms of oppression —
colonialism,      sexism,   classism,    Christian     dominance,     heterosexism,   ableism,   nationalism,   elitism    and
more — affects our internalization of racism and how we move through the world.
Truth       10: Relational           culture         makes        change     possible.
We    embrace      and cultivate a relational culture, one that counters the dehumanizing,                 transactional
norms of white supremacy culture. Far from a checklist, anti-racism is an orientation, to ourselves
and the world, which we nourish and grow through our daily actions and reflections. The work of
decolonization, anti-racism and co-liberation is necessarily creative and emergent, asking us to listen
deeply to each other, adapting and responding with presence in the moment as a collective, multi-
cultural and multi-generational movement.




                                                                                                                                DIEMERT_PROD04_10249
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        In their Claim Response, the City of Seattle also asserts that my transcript did not include any
RSJI trainings in 2020 and 2021 as if the trainings are not a requirement. This is very misleading
because nearly all of the classes in those years were canceled due to COVID or the DOJ investigation
into them that occurred. Employees were notified that they would all be excused from classes because
of COVID. This is ALL employees.

        While it is true that I have not received any negative performance evaluations from my
supervisor based on Race and Social Justice training, it doesn't mean I couldn't be. It is specifically
listed as a work requirement for us to continue working for the City of Seattle and we are reminded of
it constantly by our supervisors and upper management.. The City of Seattle also commented about the
RSJI trainings I took in 2019, and stated “under the category 'meeting City and Department
expectations,' Mr. Diemert reported that he had attended 1 out of 2 Race and Social Justice training
events in 2019 (50%), and he was nevertheless rated by his supervisor as 'fully performing'” but failed
to mention that my Supervisor excused me for failing to meet my requirements because I was absent
from work that year due to FMLA, and was only available to work part-time when I did work because
of FMLA. Because I was out of the office, I was unable to take the classes. When I was able to take
the classes, there were no classes offered except for the UIR class as stated in the email correspondence
that the City of Seattle uploaded to the EEOC! Because I was out of the office and unable to take
classes because none were offered when I was in the office, my supervisor excused me and stated this
in the remarks on my work performance review.

         BEC                                                                                Start Date     Due   Date      Progress

           Complete two RSJI related activities or events that increase knowledge
           to advance RSJ work.                                                             1/1/2019       12/31/2019      50%9

           Complete required training: Implicit Bias, Anti-
           Harassment/Discrimination, Information Security, Race: the Power of an           1/1/2019       12/31/2019      100%
           Illusion.

           Perform assigned job duties and responsibilities.                                1/1/2019       12/31/2019      100%
           Follow City and Department Policy, Rules, and Workplace                          4/1/2019       42/31/2049      100%
           Expectations.


           Comments

           Chaney Kilpatrick - 4/11/2019 9:48:04 PM
           Josh is meeting the city and department expectations as well as performing his job duties.


           Reviewer                                     Rating

           Chaney Kilpatrick ( Manager)                 Fully Performing

        2019 Annual Review
                                                                                                                                   Page | 3 of 12
        Joshua Diemert




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           Comments

           Chaney   Kilpatrick ( Manager ):
           Josh met the expectations of trainings. There were no other available trainings for him to attend outside of the UIR training.



(screenshot of 2019 performance review listing that I was unable to complete my task because the City
of Seattle didn't offer any classes that I was able to attend)




                                                                                                                                       DIEMERT_PROD04_10250
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           WIWZzulg                                     ZIJN   VZV                                Tasnk rast   Vue


           Progress

                        a                        67%
          BEG                                                                                Start Date         Due   Date    Progress

            Approve 105 applications per month (new/renewal) No more than 5% of
            approved files can have accuracy/ completeness           issues (calculation,    1/19/2019          12/31/2019    100%
            documentation, etc.).

            Phone statistics expectations is 5 calls taken per hour, less than 25% of
            time in not ready, less than 3% of calls return to queue and less than           1/19/2019          12/31/2019    0%
            10% of calls transferred. Yearly goal is 4500.
            Strength Community / Government Partnerships through regionalism

         2019 Annual Review
                                                                                                                                     Page | 4 of 12
         Joshua Diemert




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            outreach and engagement:         Continue cultivating and maintain current
                                                                                             1/19/2019          12/31/2019    100%
            relationships. Participate in outreach events and assist with the Utility,
            Energy and Resource       Summit.


            Comments

            Chaney Kilpatrick - 4/11/2019 10:17:42 PM
            Josh approved 176 new applications and 41 renewal applications from Jan- March 2019.

            Josh was out on leave 37 days of the first quarter.

            Josh has not taken phone calls during the first quarter.

            Josh was assigned on average 20 applications per day.


             NANT                                          Rating
            Chaney Kilpatrick ( Manager )                  Fully Performing

            Comments

            Chaney    Kilpatrick ( Manager ) :
            Josh was able to approve 711 of the 1029 applications he received.

            Josh has taken less than 10 calls during July- December because he was not scheduled to take calls.

            Josh is scheduled to work 32 hours per week at this time.

(2019 Performance Review showing that I was out on FMLA during beginning of the year and only worked part
time when I returned in the latter part of the year. Upon returning to work, the amount of hours I worked were on
a step increase, meaning I worked even less hours when I first returned, and by the end of the year was working
up to 32 hours per week. Note that I failed to perform my work goals but was listed as Fully Performing for the
same reasons why I was listed as Fully Performing when I failed to meet my RSJI requirements. I was out on
FMLA and my availability during the time I did work was limited.)

        In an email the City of Seattle uploaded to the EEOC, I let HR know that I was unable to take a
class because of my race. Note, that in the email chain, no one questions this. The City of Seattle states
“HSD HR understood this to mean that Mr. Diemert believed that he could not sign up for certain
classes because of his cultural background.” Note that HSD HR also correctly assumed my statement to
be true because they also believed I wasn't able to sign up for classes and didn't give me advice saying
anything different. If I was wrong, wouldn't that have been a great time to correct me? Also, the
Cornerstone training website run by the City of Seattle specifically gives prerequisites of race. Some
say required, and some say “should take”.




                                                                                                                                         DIEMERT_PROD04_10251
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    Cela        Learning          atu       las       Career Tools             Help

   On Friday, June 5, 2020 from 9:00 PM PDT to 11:00 PM PDT, your portal will be briefly unavailable due to a software update.




                                                         A        Search       Training Details




                                                             Training Details


                                                                gm         =   RSJ Summit: Internalized Racial Oppression                   (White Allies)
                                                                               Event . Executive Departments .   18 hours




                                                             Internalized Racial Oppression for White Allies:

                                                             This Internalized Racial Oppression, for white allies, workshop will explore the socialization and development for whiteness. It will explore the manifestations of White
                                                             Supremacy Culture that maintain the race construct. It will provide space to work through the internalization of racial superiority and to find a community of white allies
                                                             working towards becoming impactful anti-racist organizers.

                                                             Facilitated by: The New Woke




                                                             Location: Seattle Center; Armory Loft 3




     seattlelearning.csod.com/LMS/LoDetails/DetailsLo.aspx?loid=700370c-d428-46 73-9f89-cf36ccee0d82&query=%3Fs%3D%26q%3DRSJI&iback_key=1#t=3

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                                Training Details


                                    gmere §4= OCR RSJ] Internalized Racial Superiority
                                                    Event . Executive Departments . 6 hours




                                Internalized Racial Superiority is a six hour training that will explore U.S. history and how a preference
                                for white was created. This course includes interactive activities, offer moments for reflection and includes anti-racist action steps.

                                Who should take it?

                                Suggested pre-requisite: Race: Power of an Illusion and read White Supremacy Culture article
                                http://www.cwsworkshop.org/pdfs/CARC/Overview/3_White_Sup_Culture.PDF

                                For more information please email the RSJI Training Coordinator at Iman.Ibrahim@seattle.gov.




                                      Sessions                Details


                                  Show |          Available       w        View Full Calendar



                                      em          «4 OCR2020IRS 3                                                                                                                                                7 Openings Available
                                        5            Session .        Executive Departments .          2 hours, 30 minutes

                                                     Location                                                                 Duration
                                                     Online                                                                   6/12/2020, 9:30 AM - 6/12/2020, 12:00 PM

                                                      English (US)




(note that the prerequisite material comes from Challenging White Supremacy Workshop)




                                                                                                                                                                                                                       DIEMERT_PROD04_10252
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  On Friday, June 5, 2020 from 9:00 PM PDT to 11:00 PM PDT, your portal will be briefly unavailable due to a software update.


                                                             Search     Training Details


                                                       Training Details


                                                           mmm =         RSJ Summit:           Internalized Racial Oppression           (For POC)
                                                                         Event . Executive Departments . 18 hours


                                                       Internalized Racial Oppression for People of Color:
                                                       This workshop is an exploration of the process through which American conditioning, socialization and history leads People of Color to internalize racialized beliefs, ideas
                                                       and behaviors about themselves, undergirding the power of White Supremacy. Participants will explore ways to identify and counter internalized racial oppression.
                                                        Facilitated by: The New Woke

                                                      _ Who can atten City employees that identity 252 Petson of Colon,
                                                        Location: Seattle Center; Armory Loft 2




                                         Sessions    Details
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                                                           Search     Training Details


                                                      Training Details


                                                         mmm =         HSD RSJI Internalized Racial Inferiority
                                                                       Event . Human Services . 3 hours


                                                      This three- hour training is an exploration of the process through which American conditioning, socialization and history leads People of Color to internalize racialized beliefs,
                                                      ideas and behaviors about themselves, undergirding the power     of White Supremacy. Participants will explore ways to identify and counter internalized racial oppression.



                                                      For more information please email the RSJI Training Coordinator at Iman.lbrahim@seattle.gov.



                                      vunguzu mesons                             Details                                                                                                                 13 Upenings avanapie
                                      Session . Executive Departments .                    6 hours
                                                                                                                                                                                                                         iv

                                      SMT 1610, Flr 16, Seattle Municipal Tower                                 6/17/2020, 10:00 AM - 6/17/2020, 4:00 PM
                                      English (US)



                                                                                                                                                                                                                              1 Result




                                                                                                                                                                                                                    DIEMERT_PROD04_10253
                   Case 2:22-cv-01640-JNW                                                                 Document 68-8                              Filed 09/07/24   Page 42 of 60

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On Friday, June 5, 2020 from 9:00 PM PDT to 11:00 PM PDT, your portal will be briefly unavailable due to a software update.




                                                                            Search     Training Details




                                                                    Training Details


                                                                        gms 3s H'SD African Descent Caucus Retreat
                                                                                       Event - Human Services - 8 hours




                                                                    Introduction to the Retreat, purpose and housekeeping
                                                                    Introduction of participants
                                                                    Social contract: “In order for me to fully participate in this retreat, | need....”
                                                                    Some common definition of terms
                                                                    What does IRO look like in our lived experience? How does IRO show up in Black people?
                                                                    Cultural Identity shared cultural retentions and traits
                                                                    Four principles of Cultural Reconnection (Arunga, 2001)
                                                                    Resolutions - Now that we know what we know how are we going to forgive each other and
                                                                    restart the dial? How are we going to move forward?




                                                                            Sessions           Details




(embedded pictures above were screenshots of some of the race based RSJI classes offered in
Cornerstone. The Cornerstone website does not list all the RSJI classes offered or mandated to take, but
do have the core trainings)




                                                                                                                                                                            DIEMERT_PROD04_10254
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        The City of Seattle lied when it stated in its response that it does not restrict anyone from taking
classes based on race or cultural background. Below is a copy of an email from the lead RSJI trainer
Iman Ibrahim asking white people to remove themselves from a black only training, and then later
shaming them for their actions of attending. Public shaming and accusations of being a racist are
common practice in the City of Seattle.

        Archived: Wednesday, March 24, 2021 4:33:55 AM
        From: Ibrahim, Iman
        Sent: Thu, 10 Oct 2019 01:03:48 +0000Authentication
        To: Zere, Tamar
        Ce: Wheeler, Kyana; OBrien, Kelly
        Subject: HSD Employees
        Sensitivity: Normal



        Hi Tamar,


        Last Wednesday, three HSD ADS SKC employees, Igor Kaliberda, Nataliya Prysyazhnyuk, and lgor Selyuk, attended Implicit Bias 2.0 and were the same
        attendees from the December IRI training for HSD ADS POC employees. At the past December training, | recall that these three folks were apart of the group
        of employees that did not identify racially and/or as a POC and were asked from POC co-workers to remove themselves from the training. However, in the
        implicit bias 2.0 training, these individuals identified as white/Caucasian. At the end of the training, | asked if | could speak with them for a few minutes and
        verified if they were the same participants from the IRI training. | stated that | recognized them from that training and recalled how they identified and
        refused to leave when asked by their coworkers. | suggested that since they now are able to name their racial identity, they should reconcile with their
        coworkers and apologize for their actions from the December training. It became a 40 minute conversation with them naming confusion around registration,
        they wanted RSJI training credit, and felt uncomfortable being asked to leave. It ended with two of the three accepting my suggestion and one refusing to
        apologize for his actions. They also brought up the HSD RSJI facilitated discussion intended for Ukrainians/Russians/Immigrants. They talked about how the
        POC person that attended this discussion shouldn’t have been there and was only there to “cause trouble” because they were informed verbally by the
        organizer it was only intended for Ukrainians and Russians and were not informed that it was open for other employees. They wanted to know why that
        person was not being held accountable for showing up and not being asked to apologize for showing up at their space. The conversation ended with asking
        them to own their impact regardless of their intentions and letting them know that | will be sharing how these three employees racially identified that day.

        Thanks,



                    4                  Iman Ibrahim
                          \            RSJI Training Coordinator
                        | )            Pronouns: She/Her/Hers
        City of Seattle | Office for Civil Rights
        810 Third Avenue, Suite 750
        Seattle, WA 98104-1627
        Telephone: 206.684.4500
        Fax: 206.684.0332

        Reasonable accommodations for persons with disabilities and language interpretive services are available upon request.


        This communication is the property of the Seattle Office for Civil Rights (SOCR) and may contain confidential or privileged information.           Unauthorized use of this communication is strictly
        prohibited and may be unlawful.           If you have received this communication in error, please immediately notify the sender by reply electronic mail and destroy all copies of the
        communication and any attachments.


        This communication is for informational purposes only and is not for the purpose of providing legal advice, creating an agency decision or establishing an attorney-client relationship
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        The City of Seattle lies when it says that none of the trainings are segregated by race, or that the
City of Seattle doesn't target its employees for race specific classes based on their race. As an example,
in June of 2020, the management within HR (Terry) along with a department director (Tanya Kim) sent
out an email about how the City of Seattle was expanding its white only training during the George
Floyd protests and riots so that white employees can learn how to deal with their “internalized racial
superiority”. No classes were offered for employees of any other racial class for “internalized racial
superiority”, just the white employees.




                                                                                                                                                                                               DIEMERT_PROD04_10255
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 From: McLellan, Terry <Terry.McLellan@seattle.gov>
 Sent: Thursday, June 11, 2020 1:29 PM
 To: McLellan, Terry <Terry.McLellan@seattle.gov>
 Subject: Time sensitive: Training on Internalized Racial Superiority -Tomorrow Morning (6/12):

 Good afternoon,

 | hope this message finds you well.

 The Office of Civil Rights is hosting a training on Internalized Racial Superiority tomorrow morning, specifically targeted
 for White employees (see below). Feel free to share this training with White Caucus members or other colleagues, if
 appropriate.

 With peace,
 Terry
 (This message was blind copied to HSD SLT, White Caucus co-lead & Change Team co-lead)

 From: Falchuk, Diana <Diana.Falchuk@seattle.gov>
 Sent: Thursday, June 11, 2020 11:25 AM
 To: RSJI_Citywide_Change_Team <RSJICitywideChangeTeam @seattle.gov>; RSJI_Sub_Cabinet
 <RSJISubCabinet@seattle.gov>; OCR_RSJI_Strategy_Team <OCR_RSJI Strategy Team@seattle.gov>
 Subject: PLEASE SHARE: Tomorrow Morning (6/12): Training on Internalized Racial Superiority for White People



 Hello everyone,




 We're opening up this Friday's long-scheduled Citywide RSJI training on Internalized Racial
 Superiority, a training for white people, to additional white City employees. We'll hold the training on
 Microsoft Teams from 9:30 am - 12:00 pm. White employees not already registered can sign up at the
 link below.




 Tomorrow, many City employees will be using paid or unpaid leave to take a day of reflection and
 action. We're inviting City employees who identify as white to join this training to learn, reflect,
 challenge ourselves, and build skills and relationships that help us show up more fully as allies and
 accomplices for racial justice. We'll examine our complicity in the system of white supremacy -- how
 we internalize and reinforce it -- and begin to cultivate practices that enable us to interrupt racism in
 ways that are accountable to Black, Indigenous and People of Color (BIPOC) folks within our
 community, including our friends and colleagues at the City.




 White employees are invited to sign up here so we know you're joining us and can send you the
 meeting appointment and training materials.




 Thank you,




                                                                                                                        DIEMERT_PROD04_10256
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To participate in events, you must volunteer to segregate yourself by your race.


              Caucus #1
              All caucuses will take place at the same time. Caucuses are completely voluntary and no one will
              be turned away. Caucuses are intended to deepen our understanding of our racialized
              experiences. City employees may choose to attend the caucus that aligns with how they identify
              racially. Please put a hold on your calendar if you plan to attend. Calendar appointments will be
              sent in the future.
                  e   Monday 11/9 from 2:30
                                         — 4:00 pm

              Module 6
              This module is 2.5 hours and will be offered 2 times:
                   e  Module 6 (#1) Tuesday 12/1 from 9:30-noon
                  e   Module 6 (#2) Thursday 12/3 from 2-4:30pm




       (screenshot taken from Shape-of-Trust-Key-Leaders-Invite.pdf)

        I tried reporting the discrimination and racism, along with the segregated trainings at work to
anyone who would listen beginning in 2015. I worked with my Union Rep in 2019 to try to end the
segregated classes internally but later found that my union rep was actually working against me and
helping the City advance its discriminatory practices. See uploaded email chain with my union rep
Shaun Van Eyk.
        I also had a meeting with my Human Resource rep Andi Morales (unsure the date but the
meeting would be listed in my outlook calendar) and another with Brian Sharkey on the issue but my
complaints didn't go anywhere. They basically let me vent and allow me to tell them that I thought it
was illegal and discriminatory but didn't elevate my concerns. Since the City of Seattle trains all its
employees that it is impossible to be racist towards white people, when racism and discrimination is
reported, management acts as a gatekeeper and doesn't elevate it. They are only required to elevate
claims of racism or discrimination and since it is impossible to be racist towards a white person then
the claims of racism by the victim are mute.
        I also told my supervisor Chaney Kilpatrick Goodwill multiple times but she didn't elevate my
concerns. She said that the training says that all white people are racist and it is impossible to be racist
towards white people. She didn't question it, but said it as if the City of Seattle training states this so it
must be true. I also told every manager I had from Gloria Hatcher Mayes to Ron Mirabeau and every
manager inbetween. I also reached out to different lawyers (see attachment). I felt alone and when I
tried going to anyone outside the City of Seattle, most wouldn't even believe my assertions because the
ideology the City of Seattle was professing, including segregating its employees, sounded crazy to
them prior to the media reporting about it in June of 2020.

        The City of Seattle also incorrectly described my Ethics Report in 2019-2021. Not only did they
misrepresent what occurred, but they also lied in their statement to the EEOC about the result from me
being a whistle-blower. My lead, Shamsu Said, who I reported for fraudulently using a city welfare
program for financial gain, was not removed as my lead, was not punished for physically accosting me
in the workplace, and was not held responsible for the illegal actions I reported and provided evidence
for. Not only that, but the City of Seattle lied in their response to the EEOC when they said that he
(Shamsu Said) was moved “to another office in order to create a better environment”. None of this is
true.
        To understand the situation fully I need to go back a couple years. I originally held the Lead
position held by Shamsu Said but was asked to step down because I wasn't able to work weekends due
to my disability (FMLA limited my hours of work). I originally put forth a request that they make the




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Lead two positions because the duties and role of the job had expanded due to technology advances and
inter-office procedures. I put forth a proposition that would allow me to continue working in the Lead
position because the workload for the position had increased since it was originally created but they
denied my request. The manager of the department, Tina Inay, then began to shame me and make me
feel guilty for staying in the position telling me that I was using my white privilege to hold the position
and by doing so I was blocking a person of color from being able to apply for the job and advance. At
first I refused to step down, but after a while I couldn't take the racially charged guilt trips and agreed
to do so. I didn't want to but couldn't take the racially degrading remarks and shaming.
         After I stepped down as Lead, the City of Seattle then put into my effect my recommendations
that would have solved the problem they originally claimed was the reason they wanted me to step
down (unable to work weekends or overtime) and split the position into two positions. They then hired
two people to fill the position. Both had no experience in the department. Both had no experience in the
job. Both had no experience in supervisory type roles. But, both were listed as minorities.
         One of them was Shamsu Said. I was still used as a program expert and had to help train my
replacements who would be my direct leads. It was a weird situation and because I knew the program
better than them, I was never questioned about my work. The only questions I would receive from my
direct leads was to help them do their duties.
         Then toward the end of 2019 I was assigned an application for benefits to process. The notes
said my lead Shamsu Said submitted the application to the office. He said that he received the
application at an outreach event (later found out to be a lie). Upon review, I seen that the household had
previously been caught defrauding the City of Seattle and was listed as a Hot File. Because of this, I
made sure that I verified everything as is required when cases are Hot Files. Previously, the applicant
was caught defrauding the City for benefits and lied on their application since they were actually a
business (daycare) and were ineligible for the family based program.
         My Lead, Shamsu Said, who had never questioned me about my work prior started badgering
me about the case and telling me that I needed to hurry up and finish it. He told me that I didn't need to
verify everything and insisted that I just approve the case.
         There were questions I had about the case and often we get to know people in our community
being at outreach events so I asked him if he knew the applicants and would be able to answer some
questions. Upon asking, he got furious and stated that he did not know them and that I was being racist
for asking him. He then went off on me and accused me of being Islamophobic and a racist for
assuming they might be his family. I never said this, nor implied anything of the sort, but his erratic
response made me curious. I noticed that someone with the same name as my Lead, Shamsu Said, was
one of the original co-owner's of the home along with the applicant.
         I then looked further into it and discovered Shamsu Said was the brother of the applicant, was
previoulsy a co-owner of the property applying for benefits, and was also a DSHS certified worker at
the daycare that made the house ineligible. I also learned that the household would also be over income
even if they didn't have the daycare and that they had lied about their income. I never interacted with
the actual applicants and received all the verification documents from my lead Shamsu Said directly
who said he obtained verificcation documents at outreach events (still lying about his relationship to
them saying he did not know them).
         It was Shamsu Said's job to audit and review processed files to ensure that employees are not
helping families fraud the program. It appeared he was doing what he was hired to prevent so I went
above my supervisor and manager and reported the issue to my friend in the Mayor's Office Rodrigo,
who oversaw the program. He then reported the incident to the Supervisor (Chaney) and Manager
(Ron) and I was told to keep it a secret and that they would handle it. I denied the household for being
over income, but not because their ineligibility due to home business because Shamsu submitted a
signed declaration stating that the daycare had closed. At that time my management made me give them
the file.




                                                                                          DIEMERT_PROD04_10258
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        Months went by and Shamsu continued being my lead. Then at the end of 2019 he wanted me to
review the case and approve them saying their income changed. I refused saying it was no longer my
case. He continued pressuring me to do so over the next couple months and in 2020 he said that the
applicants applied again and he wanted me to approve the case for them. I told him that I would not
sidestep the protocols how applications are submitted and that I had already handed the file over to
management. He became erratic, irate and hostile at this point, rushed at me, got in my face and chest
bumped me. Shamsu Said is a very athletic and tall young man (as a starter, played college basketball
on scholarship for Oregon) and was attempting to use his size and demeanor to threaten me. He then
began to degrade me and threaten me. This was witnessed by a co-worker who sat next to us named
Charmaine Dancy.
        I immediately left work and went to the Seattle Municipal Tower and reported the incident and
fraud to Ethics. HR was informed of the issue and told me to go home and they would call me and let
me know when I could return to work.

        Diemert, Joshua

        From:                           Joshua Diemert <diemert711@hotmail.com>
        Sent:                           Thursday, February 20, 2020 11:35 AM
        To:                             Mayo, Marc
        Subject:                        Lead UDP PIR Shamsu Said
       Attachments:                     Emerald City Transport Info.pdf; Shamsu Signature page.pdf;
                                        EmailsandEvidenceShamsuSaid.odt; MattiHomesShamsuSaid.pdf



                                                      CAUTION: External Email
       Good Morning,

       | have attached a few examples of the connections my Lead, Senior PIR Shamsu Said of the HSD Utility
       Discount Program, has with the UDP applicant's he tried passing off as his "outreach clients". Please note, |
       asked him to his face in the Fall of 2019 if he knew the clients and he said no, that they are just outreach
       clients (| asked because | had questions about case and was hoping he could clarify them for me). This
       household was found to be on our program fraudulently in the past due to having an in-home daycare
       Matti Homes (previously listed under different name) which are ineligible. They were registered with DEL
       and their information can be found there. In the Fall of 2019 they re-applied stating the daycare was no
       longer in the home and operating elsewhere. The | denied the fall application because | found that they
       were not forthcoming with their income and didn't divulge all information. They were over income. The
        main provider of income in the house only declared 1 job, and only listed the income from the 1 job on
       the application but has had two jobs for many years (wouldn't Shamsu know this? He was the one that
       gathered their documents and application). Also, after | denied them | researched a little more and found
       that the applicant's own more homes/businesses. | also found LLC's registered to Queens, NY which is one
       of the places people register companies if they are trying to conceal their connections due to the laws
       there.


       | actually thought | was done with this. | reported case to Rodrigo (Operations Manager) and Chaney
       (supervisor) and denied the case out in the Fall of 2019. | stated that there could be a rational explanation
       but it was best to error on the side of caution since it didn't look on the up and up. Shamsu was co-owner
       of 2 companies connected to household including a daycare that was operating in house when household
       was fraudulently on UDP. Shamsu is also a co-owner of the home in question.

       Then   at the heninnina   of Fehruarv | received an email (1 think I've either CC'd ar BC'd    mv sunervisor




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         At first, the City of Seattle said that I could come back to work but that I wouldn't be allowed to
keep my corner window office (which I earned and coveted) because Shamsu sat next to me. I told
them that it was unfair that I would be punished for reporting the incident by forcing me to lose my
spot and move. I demanded that if anyone would need to move it should be Shamsu. They later agreed
and Shamsu was moved to a cubicle 10 feet away. I was also told by Marc Mayo of Ethics that they
weren't going to pursue anything against Shamsu because the union found a loophole in the rules that
said only direct lineworkers weren't allowed to do what he did and that he was technically in
management since he was a lead. They stated since the rules didn't cite anything for supervisors he was
going to get off on a tecnicality.
         Shamsu continued being my lead that I had to report to. He was not punished for accosting me
in the workplace. The only thing that changed was that he was moved to a cubicle about 10 feet away
from me. After that incident, he would use his position to pick on me and interestingly, my numbers
pertaining to my work which he was responsible for calculating dropped significantly. He was
responsible for the office email and I stopped getting emails from my clients forwarded to me. I also
stopped getting some of my mail including my faxes from Employment Security that he received. He
would also make comments in the office about me being a racist in the office. At this point I never
discussed what had happened with my co-workers, but he talked and led some of my co-workers to
believe that I made complaints about him because I was a racist. I previously was well liked in the
office and after that incident some of my co-workers would give me the cold shoulder.
         I continued doing my work but in the summer of 2021 I finally told another co-worker, Rose
Long, what had occurred. While doing so we seen that his sister, Naemi Said, was placed on the benefit
program less than a month after I reported the fraudulent application even though she was still
ineligible because her daycare was still operational. Shamsu Said was also responsible for reviewing
his sister's case after approval and let them get on the program even though they were not eligible. Rose
and I did some quick research and found that the business was still operational and the household was
still ineligible. Shamsu Said was still a certified worker at the daycare as well. It would be difficult for
anyone to argue he didn't know his sister's application was not eligible.
         I already reported the fraud two previous times and the City fought hard to protect Shamsu Said.
They even protected him when he physically accosted me in the workplace and made sure he was not
reprimanded for either action. The mandated City of Seattle RSJI training specifies that white
employees should give up their comfort, not apply for senior positions so people of color can advance
and shouldn't feel safe in their spaces since black employees cannot do the same. City of Seattle
management fought to remove me from the same Lead position when I was effectively doing my job
explicitly because of my race so my only conclusion would be that the City of Seattle was going out of
their way to protect and ensure Shamsu Said kept the same position for the same reason, his race.
         To ensure my report wouldn't be swept under the rug again, I detailed the incident in an email
and attached evidence of the fraud to the email and sent it across my department unit. My co-workers,
who understand the eligibility rules and verification protocols would be able to see the evidence for
themselves and the City of Seattle upper management would no longer be able to protect and hide the
fraud. It worked. It forced both Ethics and HR to investigate again, but they continued to protect him.




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                                                                DIEMERT_PROD04_10261
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        Diemert, Joshua

        From:                               Diemert, Joshua
        Sent:                               Tuesday, August 31, 2021 10:39 AM
        To:                                 HSD_Utility_Assistance_Team
        Subject:                            FW: Why Does City Leadership Have a History of Covering Up Corruption Within the
                                            City of Seattle?
       Attachments:                         ChildCareMonitoringChecklist.pdf; Facility Licensing Compliance Agreement (1).pdf;
                                            Facility Licensing Compliance Agreement.pdf


        We are told that we must dismantle the racist and oppressive systems within the City of Seattle in our mandatory Race
        and Social Justice trainings. We are instructed to use our positions to be Social Justice advocates and that we must act
        when we see racism and inequity leading to improprieties. | have always done what the City of Seattle has required me
        to do and this email is proof of my subservience to the city’s requests made in the mandatory trainings.

        | had a meeting with Tanya Kim in February 2020 where we discussed my revulsion over the amount of unethical and
        illegal behavior | have witnessed during my time with HSD and the failure by City leadership to address or elevate the
        incidences when | reported them. | have documented my experience while working for the city and made sure to report
        the unethical and discriminatory behavior | have witnessed to human resources, past supervisors, past managers and
        past department directors. In the 2020 meeting, Tanya stated that she recognized the issues within the department and
        assured me that her goal was to change the culture of HSD so that it would not continue. She lied, which is why | am
        sending this email so that the City of Seattle cannot cover up the malfeasance that occurs regularly in the department.

        Approximately 10 years ago, when | transferred from Department of Social and Health Services to the City of Seattle,
        one of my first jobs was to audit the files of City workers who were active on the Utility Discount Program. | was told by
        my lead at the time, Monica Humphreys, that one of the reasons | was assigned this duty was because | didn’t know
        anyone so there would be no conflict of interest. | was told it was a sensitive matter and to keep it discreet because the
        city was still recovering from the embarrassment of the SPU scandal where SPU employees were taking advantage of
        their positions with the city and zeroing out each other’s utility bills. Every file | audited was ineligible for the program at
        the time of application but somehow managed to be approved. | went through the steps to verify they were over
        income and removed them from receiving any more benefits. Many of these people still work for the City of Seattle and
        are currently in leadership positions. | am not aware of any of the employees that | determined to be fraudulently on the
        program being reprimanded or back-billed for the benefits they fraudulently received.

        Actions committed by employees aren’t always representative of the organization, but the repeated decision to cover
        up misconduct rather than address it makes the City of Seattle culpable.

(portion of email sent out to department unit that had attachments and embedded pictures of fraud)

        During the investigation, the file was lost and much of the evidence became missing. The Ethics
department gave me a copy of the investigative report and it was inaccurate and didn't even follow
timestamped timeline of events recorded in the UAP system used for notes along with my email
leading me to believe the y purposely did a sloppy job conducting the investigation. They also did not
interview any of the actual witnesses and instead interviewed co-workers who had nothing to do with
anything. Charmaine Dancy has yet to be interviewed by any investigator even though she witnessed
Shamsu Said assaulting me previously.

       Recently, the Ethics department went before the independent board SEEC and asked that the
commission drop any charges against Shamsu that came as a result of my report. The SEEC was
appalled that the Ethics department described the fraud as true, but “minor” to them and voted for
charges to proceed against the City of Seattle's lawyer's wishes.


(Video of SEEC Hearing https://www.seattlechannel.org/ethics?videoid=x136993 start 12:54)


       This exchange is publicly aired and I was appalled when I watched it because the Ethics




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department continued their attempt to protect Shamsu, lied about the case to the SEEC and the
evidence linking Shamsu to the fraud in order to minimize his involvement during the independent
review SEEC hearing. The City of Seattle lawyer alluded that they had no evidence that Shamsu could
have known about his sister's fraud, even though he is a DSHS certified worker at the daycare! It is the
daycare that makes them ineligible and Shamsu is the Lead who reviews and audits case files and
knows all the rules! The internal fraud case I originally reported in 2019 is still ongoing.

        This same lead, Shamsu Said, at multiple times in 2019 and 2020 parroted the RSJI training and
said that I had White Privilege and was responsible for the slavery of the past because I am white while
I worked under him. One time, I was so upset about one of the times he verbally degraded me due to
my race and religion that I created an essay with attached documents from the Smithsonian, Wellesley
Colllege and American Bar Association to give to him in refutation of his inaccuracies in history and
insults towards me but I decided last minute not to do so and ended up giving to a co-worker Toni
Espinoza the next day instead after venting to her about the incident (I didn't let her know that I was
talking about Shamsu because she was friends with him).


        I have multiple incidents of discrimination and racism that occurred while I worked at the City
of Seattle, but the above submission is only in response to City of Seattle's Claim Response that they
submitted.

Additionally, I originally tried making a claim months earlier in August of 2020 but they EEOC was
not accepting any appointments due to COVID.


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       EEOC       Scheduling Mobile Site



             Appointment Scheduling
                    Step 2 of 3
                          Go   Back   EEOC    Public Portal



       Currently, there are no appointments      available.
       New    appointment times open-up      daily, so if
       none are available now, please check the
       calendar throughout the day.


                                                                   Appointment Date Selector

                        Monday                      Tuesday                               Thursday           Friday
                        09/28/2020                  09/29/2020         09/30/2020          10/01/2020        10/02/2020        10/03/2020
        10/04/2020 |    10/05/2020                  10/06/2020         10/07/2020          10/08/2020        10/09/2020        10/10/2020
        10/11/2020      10/12/2020                  10/13/2020         10/14/2020          10/15/2020        10/16/2020        10/17/2020
        10/18/2020      10/19/2020                  10/20/2020         10/21/2020          10/22/2020        10/23/2020        10/24/2020


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       After a couple months of attempting to get ahold of someone, I then created my own Charge of
Discrimination Statement and began faxing and emailing them to the EEOC.


                                                 @         outlook.live.com/mail/0/:


                                              Sent Items                                            Ware,

                                                info@eeoc.gov                                                        v
                                                Please take my formal letter re...                           10/8/2020
                                                | would like to make an inquiry so | can p...

                                              MENS                              gmail.com




                                                                                                                     Co
                                                RSJI EEOC Inquiry Copy Letter                                10/8/2020
                                                No preview Is available.



I didn't receive a response from my faxes or emails so I continued to try and make an appointment
online but all the slots were continually “greyed out” even though I searched multiple times everyday at
different hours of the day.

                    tO                    @          publicportal.eeoc.gov/sct


                 EEOC     Scheduling          Mobile Site



                    Appointment Scheduling
                          Step 2 of 3

                                  Go   Back   EEOC   Public Portal


                Currently, there are no appointments available.
                New appointment times open-up daily, so if
                none are available now, please check the
                calendar throughout the day.


                                                                        Appointment Date Selector

                Sunday         Monday                     Tuesday          Wednesday           Thursday    Friday         Saturday




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I believe this is pertinent to the matter, because the 300 day period is very limiting pertaining to the
discrimination and hostile work environment I have been working in for the past 9 years and was
subjective to the EEOC interviewing me for a “Charge” when they were not accepting new interviews
due to COVID. Shouldn't the Charge Letters I faxed and emailed also be accepted? Since I have
incidents that are in both periods, shouldn't the incidents that occurred prior be in a separate charge
based on the date the Charge of Discrimination I submitted months prior?




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Finally, the City of Seattle seemed to focus on the RSJI training themselves, but my charge is not just
against the training, but against the hostile work environment created by the training and the policies
embedded systemically into the City framework that are the reasons for the training. The Race and
Social Justice Initiative is based on a racist and discriminatory ideology and embeds racism and
discrimination into every policy, action and interaction in the City of Seattle. I will be uploading
additional documents and material including more details on my actual charge submitted but wanted to
also submit this rebuttal after reading the City of Seattle's Response because it was deceptive,
inaccurate and was grossly misleading.

Joshua Diemert
April 2022

I apologize for any misspellings, bad grammar, or unclear prose but it has been very difficult for me to
revisit this issue and attempt to explain because the memories of my time at the City of Seattle is very
upsetting to me. My blood pressure goes up, my heart rate increases and it makes me sick to my
stomach thinking about what I had to go through while working there. My health has greatly improved
since I was compelled to quit but anytime I revisit my experiences there, I feel ill and it is difficult to
not try to crawl and bed and sleep to escape.

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D SharePoint                              e   Letters to the Mayor




                     RSJI Citywide Change Team Co-Leads

                                                    ©) Send by email

                                                                Groups should discuss support of the letter as a                                      List of Original supporting
    Landing Page
                                                                unanimous   decision in order to remove the asterisk ( * )                           groups from initial letter:
                                                                from the group’s name in the original list. We encourage
    2020 RSJI Summit          (Pande...
                                                                groups to follow and discuss the issues on this page in                                   ¢ Anti-Racist Educators (ARE) Training
                                                                                                                                                              Group
    ee         RoR       UE) ee
                                                                order to fulfill the goal of raising racial awareness in city                             ¢ Anti-Harassment Interdepartmental
    In Loving Memory                                            government work. We encourage groups rather than                                            ale

    Directory & Change Tea...                                   individuals to offer their support because of our                                             CANOES
                                                                                                                                                              Citywide AAPI for Racial Equity
    Videos
                                                                adherence to an anti-racist grassroots collective
                                                                                                                                                              Citywide Equity Leads
                                                                organizing model where we rebuke the status quo practice
    A GUIDE AND CALL TO A...                                                                                                                                  Department of Education and Early
                                                                of rugged individualism in favor of new multi-cultural                                        Learning Change Team
    Subsites
                                                                networks.                                                                                     Department of Transportation Latinx
                                                                                                                                                              Group
    Change Team          Departmen...
                                                                                                                                                              FACES Affinity Group
    Recycle bin                                                                                                                                               *Human Resources Change Team
                                                                                                                                                              Members of CORE Team 1 (Citywide
                                                                             Please submit contact information so that we can make the RSJI                   Organizers for Racial Equity)
                                                                             network stronger.
                                                                                                                                                              Members of CORE Team 2
                                                                                                                                                              CORE Team 3
                                                                             (Signatories will be updated daily - sign your organization on below)            CORE Team 4
                                                                                                                                                              *CORE Team 5
                                                                                                                                                              Nie Clam Nite           lotr
                                                                                                                                                              Office of Arts & Culture Change Team
                                                                                                                                                              Members of Seattle Office for Civil
                                                                                                                                                              Rights
       seattleqov.sharepoint.com,




City of Seattle rejects looking at people as individuals, and states that individualtiy is a tool of
white supremacy. Instead, it adovocates that people should be looked at collectively by their
race and that their race and history of people belonging to their race are connected. The City
of Seattle stereotypes employees based on their collective.




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) Videos                           @   RSII Citywide Change Team... *


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                                                                               white "be quiet”




                                                                             ral     as)      Sy)        People            News




                                                                                       patricia.snyder   >   .... >   15
                                                                                       Snyder, Patricia modified on October 17, 2016
                                                                                       Indians it was a rare day when some white didn’t visit my office and proudly proclaim that he or she... EsaTMn relel (eM <a
                                                                                       able to use her white privilege to win her claim in a court of law today...




                                                                                       SDCI Race & Social Justice Initiative      >   TrainingLibrary                                                  me and white
                                                                                       Sheehy, Katie modified on November 22, 2018                                                                      supremacy
                                                                                       me and white supremacy workbook layla f. saad... entitled "| need to talk to spiritual white                      workbook
                                                                                       women about white supremacy”, Layla directed the letter to white women for they are the




White workers are told to be quiet and let people of color speak. White workers are told they
are not allowed to talk about issues pertaining to people of color and that only people of color
can be experts in stereotyped issues pertaining to black people. This is said both vocally and
can be found in City of Seattle documents. I have been told more than once to be quiet
because of both my sex and color of skin.




                                                                                                                                                                                                  DIEMERT_PROD04_10266
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                                                                                       RSJ Foundations Terms Timeline

                                                                                         MeetingDates | Terms                                                         Individual assignedto
                                                                                                                                                                      term/conce|
                                                                                        ‘April              ‘Socialization ****                                      ‘anal, Diana,     & Janell
                                                                                                          Culture *****                                              Manal, Diana,     & Janell
                                                                                          Loren, Kyana,& | Power**"*                                                 Sallie & Patty
                                                                                         Iman out           ‘Social Position ******                                  Sallie & Patty
                                                                                       “April 22            ‘Socialization *==*                                      ‘Manal & Janell
                                                                                                          Culture *****                                              Manal    & Janell
                                                                                                          Power****                                                  Sallie, Patty,& Iman
                                                                                                            ‘Social Position =*****                                  Sallie, Patty,& Iman
                                                                                          Diana & Kyana_| Systems perceptionof history with focus onSeattleto | Loren
                                                                                         out                include intersectionality and concept of race and
                                                                                                            gender
                                                                                       “Aprii23             Cutture ===                                              ‘anal, Iman,     & Diana
                                                                                                            Powerese*
                                                                                          Sallie, Patty, | Social Position ******
                                                                                          kyana,& Debbie | Systems perception    of history with focus onSeattleto | Loren
                                                                                         out                include intersectionality and concept of race and
                                                                                                            gender
                                                                                        May                 ‘Social Position ======                                 ‘Manal& iman
                                                                                                           ‘Oppression *****                                         Diana   & Patty
                                                                                        Janell out          Intersectionality ******                                 kyana
                                                                                                            ‘Systems perception  of history with focus onSeattleto | Loren
                                                                                                            include intersectionality and concept of race and
                                                                                                            gender
                                                                                          May7              Racism ==>                                               Iman, Janel, Patty, Sallie
                                                                                                            Colonization ** and imperialism
                                                                                          Diana, Kyana, | White supremacy
                                                                                          and Manalout | Systemsperception       of history with focus onSeattleto | Loren
                                                                                                            include intersectionality and concept of race and
                                                                                                            gender
                                                                                        May 13            Racism ==***                                               Kyana   & Manal
                                                                                                            Colonization ** and imperialism                          Kyana& Manal
                                                                                        Janell out          White supremacy                                          kyana& Manal
                                                                                                            White Christian Nationalism                              Patty& Diana
                                                                                                           Islamaphobia                                              Patty& Diana
                                                                                                            Antisemitism                                             Patty& Diana
                                                                                                            ‘Systems perception  of history with focus onSeattleto | Loren


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                                                                                                                                     Why We Lead With Race
                                                                                                                                   Developed by Scott Wynn (2012)
                                                                                                  Privileged / agent group           ‘Oppressed/targetgroup __| Oppression
                                                                                                 White                               People of color            Racism
                                                                                                 Men                                 Women                                Sexism,
                                                                                                  Formal education                   Brilliant masses                     Elitism
                                                                                                 Wealthy                             Poor and working class               Classism / capitalism
                                                                                                 Straight                            LGBTQ                                Heterosexism
                                                                                                 Cis-gendered                        Transgendered                        Genderism
                                                                                                 Christian                           Non-Christian                        Christian hegemony
                                                                                                  Middle-aged                        Youth and elders                     ‘Ageism
                                                                                                 Citizens                            Immigrants and refugees              Nationalism
                                                                                                 Able-bodied                        Disabled                              Ableism
                                                                                                 Non-native                          Native Americans and                 colonialism
                                                                                                                                     Alaskan Natives

                                                                                                 Racism: System of advantage based on race




                                                                                                                                                                                         DIEMERT_PROD04_10267
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http://inweb/rsji/communication.htm                                                                                                                           +» G || Search...

©                11420 SDHRRSY Chang... 121620SDHRRS! Chan. @ gbeword-vieworticeap... Race and Social usticeL. @ Race and Social ustice LG Race and Socal ustic. x Race
                                                                       conscious of this issue.   He decided to focus on the impact of race because systemic oppression based on
                                                                       race and ethnicity has shaped all aspects of American life. Here in Seattle, institutional racism shapes
                                                                       where we live, where we work, how well we do in school, how long we will live, and the likelihood of our
                                                                       involvement in the judicial system.

                                                                       Institutional racism impacts all of us, whether we're straight or gay, able-bodied or disabled. The Initiative
                                                                       acknowledges the profound impact of race on our city, and the huge cost of not creating a more equitable,
                                                                       inclusive society.
                                                                       What do you mean by “institutional racism?”

                                                                       racial prejudice + systemic power = institutional racism
                                                                       Institutional racism uses skin color to grant power and privilege to one group, and to limit power and
                                                                       privilege for other groups. This system of power and privilege based on skin color is enforced by the
                                                                       institution's policies, practices and procedures. It appears normal and often operates automatically and
                                                                       invisibly.
                                                                       More than 70% of the people who live in Seattle are white. How will the RSJ Initiative benefit them?

                                                                       Everyone in Seattle can benefit from changing how the City conducts its business. Long-term results will
                                                                       include:
                                                                              * Reducing the cost of litigation and mitigation due to discrimination;
                                                                              + Reducing the expense of coping with systemic problems caused by institutional racism;
                                                                              + Improving the sense of trust and value in government.
                                                                              + Unleashing the full potential of our community.

                            white-supremacy_culture presentation
                            DEI / RSJI Change Team          > Shared Documents
                            Dawson-Miller, Jennifer modified on December 8, ...                            * 11 views
                            white supremacy culture has damaging characteristics because
                            norms & standards are used without... We all live in a white



                            White Ally - White Supremacy Culture - Perfectio...
                            SDCI All Staff    > .... > White Ally Team
                            Elwood, Linda modified on October 2, 2020
                            enjoy and be enriched by her thoughts on Perfectionism, another
                            element of White Supremacy culture... These behaviors are



                            White Supremacy Culture
                            DEI / RSJI Change Team          > Shared Docs
                            Dawson-Miller, Jennifer modified on July 21, 2020



                            Addressing White Supremacy 9.2020 cultures con...
                            SDCI All Staff    > .... > White Ally Team
                            Elwood, Linda modified on October 8, 2020                                                                       oo
                                                                                                                                            Challenging
                                                                                                                                               White Supremacy Culture in 2020
                            FROM CULTURES CONNECTING...



                            Ally Mtg Notes 8.and Articles 8.18.20- White Supr...
                            SDCI All Staff    > .... > White Ally Team
                            Elwood, Linda modified on August 19, 2020                     + 20 views

                            not been successful in the past is because white people do not
                            embody the responses necessary to interrupt systemic racism



                            White Supremacy Culture
                            SPU Race & Social Justice Initiative            > Research Library
                            Hunter, Natalie modified on February 1, 2019




      https://seattlegov.sharepoint.com/_layouts/15/sharepoint.aspx?q=WHITE%20CULTURE&...                                                                                         2/2/2021
                                                                                                                                                                         DIEMERT_PROD04_10268
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   m=)     Withering-Under-the-White-Gaze
            SPU Race & Social
                           i  Justice
                                   i  Initiative
                                        itiati        >    Research Library
                                                                     i                     ie Leck.
                                                                                          Withering Under the White Gaze:


            Hunter, Natalie modified on April 10, 2018

            The white gaze is the product of a culture that automatically
            centers whiteness and gives white people the benefit of the



     ey     City of Seattle Brand Portal
      /     https://seattlegov.sharepoint.com/sites/sea/branding
            Updated on July 14, 2020       * 3070 views
            All uses of the City of... Archives Arts and Culture* City Attorney City Auditor City Budget Office
            (CBO) City Clerk... Brand Colors The Seattle logo uses three colors Seattle Blue, Black, and



   [=]      Me_And_White_Supremacy_Workbook_FINAL_B...
            SDCI Race & Social Justice Initiative         > TrainingLibrary                     me and white
            Sheehy, Katie modified on November 22, 2018                                             supremacy
            me and white supremacy workbook layla f. saad... entitled “|                             workbook
            need to talk to spiritual white women about white supremacy”,



   m=) WhyPeople-of-ColorNeedSpacesWithoutWhitePe...
            SPU Race & Social Justice Initiative      >    New RSJ Articles              Why People of Color Need Spaces Without White People

            Hunter, Natalie modified on February 1, 2019
            we can get off the treadmill of making white people comfortable
            and finally realize just how tired... of myself | had cut off to fit



   a:       People Culture Non-Labor Template_kk updates
            Budget Office    >   .... »   Non-Labor Analysis
            Regis, Joe modified 13 days ago




https://seattlegov.sharepoint.com/_layouts/15/sharepoint.aspx?p=3&q=WHITE%20CULTU...                                                            2/2/2021




                                                                                                                                  DIEMERT_PROD04_10269
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    fl    Paying Attention to White Culture and Privilege
          SPU Racial Equity Toolkit        >   ResearchLibrary                        ‘The Foundation Review

          Hamai, Steve modified on April 24, 2014
                                                                                                tention to White Culture and Privilege: A
                                                                                                 ink to Advancing Racial Equity
          challenges to engaging foundations in exploring white privilege
          and white culture in their internal and external racial equity



   B:)    White Supremacy Culture (and antidotes)
          DEI / RSJI Change Team > .... >» Resource Library
          Dawson-Miller, Jennifer modified on July 21, 2020



   B:)    White Allies: Resources for Racial Equity
          SDOT Change Team         »   SitePages
          Cena, Maekaila modified on September 2, 2020           * 107 views
          Robinson 9780143129202 | PenguinRandomHouse.com Books White Supremacy Culture
          Characteristics 75 Things White People... Workshops Internalized Sexism & White Privilege A


   fa     Current Culture Results
          Debra's Blog    >   SiteAssets
          White, Tony modified on June 29, 2020          + 133 views



   m=) WhiteSupremencyCulture
          SPU Race & Social Justice Initiative        > Research Library
          Hunter, Natalie modified on June 25, 2018
          See Racism 101 page for more... express a genuine concern that
          the term "white supremacy culture" will turn white people off,


   m=)    Patty Narvaez-Wheeler SOCR SDHR Foundations...
          Anti-Harassment Impl...       > .... > Terms and Definitions
          White, Debbie SHR modified on April 15, 2019           * 18 views
          In other words it is the... This definition of culture also affirms
          that culture is not static or linear, and thus dispels myths that a




https://seattlegov.sharepoint.com/_layouts/15/sharepoint.aspx?q=WHITE%20CULTURE&...                                                     2/2/2021




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  fe     Strategies for Racial Equity_edited
         SPR Foundations of Change       >»   .... >       Event Handouts
         Tabares, Desiree modified on September 25, 2020

         For white people, a caucus provides time and space to work
         explicitly and intentionally on understanding white culture and


  n=    Racial-Identity-Caucusing-Crossroads                                               ai ony Casas: A Strtgy fr Bing Arcs Goce,
         SPU Race & Social Justice Initiative          > Research Library
         Hunter, Natalie modified on October 30, 2017

         shifts in our institutional structure and culture, in addition to
         building authentic anti-racist partnerships between People of



 m=)     December 3 2020
         SDOT_POCA_grp >        .... > Best of the Week Sumbissions
         McKenzie,   lona modified on December 9, 2020             + 24 views

         White solidarity is a big part of white supremacy culture but it is
         really about letting white people remain comfortable by not


   fl    Quick Reference Guide for the Foundations of RSJI                                     ‘i                         e
         DEI / RSJI Change Team      > Shared Documents                                             Race and Social Justice
                                                                                                  ik teres fer he nto at
         Dawson-Miller, Jennifer modified on September 30...                * 45 views
         Culture is the life support system of a community... white
         supremacy culture from dismantlingracism.org... A list of



  G:)    Creating a Customer-Centric Culture
         Seattle City Light COVID-19 Blog        > .... > Posts
         White, Tony modified on April 16, 2020

         Seattle City Light is Our Community-Owned Electric Utility Since joining Seattle City Light in
         October 2018, I've consistently encouraged all of you, our 1,700+ employees, to reframe...



  B:)    Health, Prevention & Culture Fair
         Community Engagement Information                  > .... > Events
         SPU, SharePoint01    modified on July 12, 2013

         White Center... 8th Ave SW & 99th Ave SW...



   fl    What_is_Internalized_Racism (4)                                                                             ener
         SPU Race & Social Justice Initiative          >   New RSJ Articles




tps://seattlegov.sharepoint.com/_layouts/15/sharepoint.aspx?p=3&q=WHITE%20CULTU...                                                2/2/2021




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             What_is_Internalized_Racism (4) 00                                                                      eet a
             SPU Race & Social Justice Initiative      >   New RSJ Articles




https://seattlegov.sharepoint.com/_layouts/15/sharepoint.aspx?p=3 &q=WHITE%20CULTU...                                             2/2/2021

SharePoint                                                                                                                 Page 3 of 11




     n) WhyPeopleofColorNeedSpacesWithoutWhitePeo...
             SPU Race & Social Justice Initiative      > Research Library
             Hunter, Natalie modified on August 14, 2018                               hy Pec ot er es Sacs witout White Fe pi
             the United States, | have been angered and baffled by the
             responses of white people to these spaces... of myself | had cut


             v2 RSJ Foundation Guide DRAFT Feedback Version
             Anti-Harassment Implementation Core Team              > .... > Traininc
             White, Debbie SHR modified on July 3, 2019         + 7 views

             Truth #2: We   are all a... in ways that counter the individualist,
             white dominant cultural norms of our institutions that... All of




                                                                                                                                 DIEMERT_PROD04_10272
